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10 Attorne S for [_)efendant and Counterclaimant
11 First Ra e Staffmg Corporatlon

 

12 THE UNITED STATES DISTRICT COURT 110R THE CENTRAL
13 DISTRICT 011 CALIFORNIA - WESTERN DIVISION
14 ZURICH AMERICAN INSURANCE Case NO. 2;17-Cv-4864-CAS(1<SX)
15 COMPANY 0F ILLINOIS,
Plaintiff,

16 DECLARATION 011 JOSEPH C.
17 V' GJONOLA IN sUPPORT 011 Ex

FIRST RATE STAFFING PARTE APPLICATION F0R LEAVE
18 CORPORATION/ et al-/ T0 AMEND ANSWER AND
19 D@fendants_ COUNTERCLAIM AND
20 CONTINUE THE TRIAL

FIRST RATE STAFFING
21 CORPORATION,
22 Counterclaimant,
23 v~ COURTRO0M; 80
24 ZURICH AMERICAN INSURANCE

COMPANY 011 ILLINOIS H0N. CHRISTINA A. SNYDER

25

26 Counter-Defendant.

 

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DECLARATION OF ]OSEPH C. G]ONOLA IN SUPPORT OF EX PARTE APPLICATION FOR
LEAVE TO AMEND ANSWER AND COUNTERCLAIM AND CONTINUE THE TRIAL

 

 

 

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DECLARATION OF JOSEPH C. GJONOLA
I, JOSEPH C. GJONOLA, declare as follows:

1. I am an attorney at law duly licensed to practice before the Courts of the
State of California. l am a partner With the law firm of Roxborough, Pomerance, Nye
& Adreani, LLP, attorneys of record for Defendant First Rate Staffmg Corporation
(“First Rate” or “Defendant”) in this action. The facts set forth herein are true of my
own personal knowledge, and if called upon to testify thereto, I could and Would
competently do so under oath.

2. Attached hereto as Exhibit “l” is First Rate’s proposed Second Amended
Answer and Counterclaim.

3. On March 30, 2018, I sent the Second Amended Answer and
Counterclaim to Lincoln V. Horton, counsel for Plaintiff, Zurich American Insurance
Company of Illinois (“Zurich”) and asked that Zurich stipulate to its filing. Counsel
refused by email sent after 5pm on April 3, 2018, a true and correct copy of Which is
attached as Exhibit “2”.

4. On April 3, 2018, l advised counsel for Zurich that this ex parte request
Would be made to this Court and that Zurich Will have 48 hours from service of this
application to file its opposition Zurich’s counsel responded by email that Zurich
Would oppose the application. A true and correct copy of that email exchange is
attached as Exhibit “3”.

5. Attached hereto as Exhibit “4” is a true and correct copy of the Court’s
original Scheduling Order of October 30, 2017. Attached hereto as Exhibit “5” is a
true and correct copy of the Order Continuing Certain Scheduling Order Dates of
January 26, 2018.

6. Beginning in November 2017, my associates and I spent time reviewing
Zurich’s initial disclosures and performing investigations of the documents and

surrounding events, and propounding Written discovery. This Work product resulted

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DECLARATION OF ]OSEPH C. GJONOLA IN SUPPORT OF EX PARTE APPLICATION FOR

 

 

 

LEAVE TO AMEND ANSWER AND COUNTERCLAIM AND CONTINUE THE TRIAL

 

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in the conclusion that Zurich had not produced all of the relevant documents,
particularly its underwriting documents for First Rate, including the Schedule Rating
Work Sheets. These should have been produced or identified in Zurich’s initial
disclosures, because they are foundational to Zurich’s calculation of and claim for past
due premium. These documents became the subject of document requests. But the
documents were not produced until about March 2, 2018, a day or two before the
depositions of Zurich employees in the first week of March, 2018.

7. On December 21, 2017 I sent an email to Lincoln Horton attempting to
schedule a settlement conference in late January or early February 2018, and continue
dates for the expert reports and discovery cut-off. A true and correct copy of that
email exchange is attached hereto as Exhibit “6” page 2. l had already sent an email
to Magistrate Stevenson’s Courtroom Deputy Clerk to gather available dates, on
December 18, 2018. A true and correct copy of that email exchange with the Deputy
Clerk is attached hereto as Exhibit “7”.

8. However, by the time Zurich responded on December 27, 2018 (Exhibit
“6” page 1.), and schedules were cleared, the Magistrate had no dates available before
March 20, 2017. A true and correct copy of that email exchange with the Deputy
Clerk is attached hereto as Exhibit “8”.

9. After Zurich deposed all of the First Rate witnesses it desired to depose
in the last week of January and first week of February, 2018, the depositions of
Zurich’s witnesses were repeatedly delayed because Zurich stalled the production of
requested documents I complained to Zurich’s counsel by email on March 1, 2018
after having to postpone the depositions a third time, because Zurich would not
produce the documents necessary for the depositions Those included the
underwriting documents, including the Schedule Rating Worksheets. A true and
correct copy of that March 1, 2018 email is attached hereto as Exhibit “9”.

10. Following the depositions of Zurich’s employees, taken by David R.

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DECLARATION OF ]OSEPH C. GJONOLA IN SUPPORT OF EX PARTE APPLICATION FOR
LEAVE TO Al\/IEND ANSWER AND COUNTERCLAIM AND CONTINUE THE TRIAL

 

 

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:17-cv-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 4 of 77 Page |D #:302

Ginsburg, Esq. of my office from March 5 - 9, 2018, First Rate immediately focused
on preparing for the March 20, 2018 Settlement Conference with Magistrate Judge
Stevenson. First Rate had to prepare a Settlement Conference Statement and
Confidential Addendum for Magistrate Stevenson. First Rate did its best to digest the
new facts and include them in the Settlement Conference so as to present Zurich with
an honest assessment of its exposure to First Rate for violating its own California rate
filings

11. In the week prior to the March 20, 2018 Settlement Conference, 1
engaged in additional work product to further determine the effect of the new
information that First Rate discovered through the recent depositions l also began
amending First Rate’s answer and counterclaims in the event the case did not settle.

12. Ever since the fruitless March 20, 2018 Settlement Conference, David R.
Ginsburg, Esq. and l have been working with experts to assist First Rate and testify on
its behalf. All expert work has had to be performed between March 20, 2018 and
April 16, 2018, when the experts’ reports are due to be exchanged. No expert work
was performed prior to the Settlement Conference. As explained to the Court in the
parties’ Joint Stipulation For Continuance Of Certain Scheduling Order Dates,
“Settlement will be much more likely before the parties incurring (sic) large expenses
to retain experts, produce reports, and take [expert] depositions.” See Page 2, lines 2-
3 of the Stipulation, a true and correct copy of which is attached as Exhibit “10”. That
statement accurately reflects the conversations and agreement between the parties’
counsel concerning the best way to reach a settlement of the case.

13. Amid engaging and working with experts, 1 completed a draft of the
Second Amended Answer and Counterclaim and emailed it to Zurich’s Counsel on
March 30, 2018, with a request that Zurich stipulate to its filing and a trial
continuance. At true and correct copy of that email communication, sans attachment,

is attached as Exhibit “2” bottom of page 2. Zurich’s counsel failed to respond to

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DECLARATION OF ]OSEPH C. GJONOLA IN SUPPORT OF EX PARTE APPLICATION FOR
LEAVE TO AMEND ANSWER AND COUNTERCLAIM AND CONTINUE THE TRIAL

 

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multiple requests to stipulate until almost 6pm, April 3, 2018 (Exh. “2” page 1), and
only after First Rate sent a notice of this ex parte application (Exh. “3” page 1).

14. 1 have spent that past week continuing my Work with multiple experts,
drafting this application, and responding to additional discovery sets that were

propounded by Zurich on March 24, 2018, right after the Settlement Conference.

1 declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct and that this declaration is executed on April 6, 2018,

in the City of Woodland Hills, State of California.

/s/Joseph C. Gjonola
JOSEPH C. GJONGLA

 

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DECLARATION OF ]OSEPH C. GJONOLA lN SUPPORT OF EX PARTE APPLICATION FOR
LEAVE TO AMEND ANSWER AND COUNTERCLAIM AND CONTINUE THE TRIAL

 

Case 2:17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 6 of 77 Page |D #:304

EXHIBIT 1

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:17-cv-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 7 of 77 Page |D #:305

Attorney_s for Defendant and Counterclaimant First Rate Staffing

Corporation

THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
DISTRICT OF CALIFORNIA - WESTERN DIVISION

ZURICH AMERICAN INSURANCE
COMPANY OF ILLINOIS,

Plaintiff,

V.

FIRST RATE STAFFING
CORPORATION, et al.,

Defendants.

 

FIRST RATE STAFFING
CORPORATION,

Counterclaimant,

V.

ZURICH AMERICAN_ INSUR_ANCE
COMPANY OF ILLll\l OIS, ZURICH
NORTH AMERICA and WORLD
}/§ICI:DE SPECIALTY PROGRAMS,

Counter-defendant.

 

Case No. 2:17-CV-4864-CAS(KSX)

Second Amended Answer,
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117-cv-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 8 of 77 Page |D #:306

SECOND AMENDED ANSWER

Defendant First Rate Staffing Corporation (“First Rate”) answers the
complaint as follows:

Admissions and Denials

1. Answering paragraph 1 of the complaint, First Rate admits the
allegations therein.

2, Answering paragraph 2 of the complaint, First Rate admits the
allegations therein.

3. Answering paragraph 3 of the complaint, First Rate admits the
allegations therein.

4. Answering paragraph 4 of the complaint, First Rate is without
sufficient knowledge or information to form a belief as to the allegation contained
therein, and, on that basis, denies that allegation.

5. Answering paragraph 5 of the complaint, First Rate is without
sufficient knowledge or information to form a belief as to the allegation contained
therein, and, on that basis, denies that allegation.

6. Answering paragraph 6 of the complaint, First Rate is without
sufficient knowledge or information to form a belief as to the following allegations,
and, on that basis, denies them: (a) whether, at any time mentioned in the complaint,
First Rate was ever the agent of any of the other Defendants; (b) whether, at any
time mentioned in the complaint, any of the other Defendants was the agent, servant,
or employee of any of the other Defendants, and at the same time and place of the
alleged events described in the complaint, was acting within the course and scope of
said agency and employment with the permission and consent of any of the other
Defendants; (c) whether any of the other Defendants is the alter ego of any of the
other Defendants; and (d) whether any of the other Defendants is, essentially, the
extension of any of the other Defendants. Except as denied on the basis of
insufficient knowledge or information to form a belief, First Rate denies each and

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Case ¢_:17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 9 of 77 Page |D #:307

1 every allegation in paragraph 6 of the complaint,
2 7. Answering paragraph 7 of the complaint, First Rate admits that: (a) it

3 purchased a workers’ compensation insurance policy bearing the policy number WC

4 9491028-02 from Zurich American Insurance Company of lllinois (“Zurich”), and

5 that policy was issued to First Rate by Zurich; (b) the workers’ compensation

6 insurance policy bearing the number WC 9491028-02 (the “Agreement”) covers the
7 policy period May 7, 2014 to May 7, 2015; (c) one of the endorsements to the

8 Agreement states, in part: “The premium shown on the Information Page, schedules,
9 and endorsements is an estimate. The final premium will be determined after this

10 policy ends by using the actual, not the estimated, premium basis and the proper

11 classifications and rates that lawfully apply to the business and work covered by this
12 policy. 1f the final premium is more than the premium [First Rate] paid to [Zurich],
13 [First Rate] must pay [Zurich] the balance. If it is less, [Zurich] will refund the

14 balance to [First Rate].”; (d) another of the endorsements to the Agreement states:

15 “[First Rate] must provide [Zurich], or [Zurich’s] authorized representative, access
16 to records necessary to perform a payroll verification audit. 1f [First Rate] fail[s] to
17 provide access within 90 days after expiration of the policy, [First Rate] [is] liable to
18 pay a total premium equal to 3 times [Zurich’s] current estimate of the annual

19 premium for [First Rate’s] policy. 1n addition, if [First Rate] fail[s] to provide access
20 after [Zurich’s] third request within a 90 day or longer period, [First Rate] [is] also
21 liable for [Zurich’s] costs in attempting to perform the audit unless [First Rate]

22 provide[s] a compelling business reason for [its] failure. [11] [Zurich] will contact

23 [First Rate] to schedule appointments during normal business hours [11] [Zurich]

24 will notify [First Rate] of [First Rate’s] failure to provide access by mailing a

25 certified, return-receipt document stating the increased premium and the total

26 amount of [Zurich’s] costs incurred in [Zurich’s] attempt(s) to perform an audit. 1n
27 addition to any other obligations under this contract, 30 days after you receive the

28 notification, [First Rate] will be obligated to pay the total premium and costs

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referenced above. 1f, thereafter, [First Rate] provide[s] access to [First Rate’s]
records within three years after the policy expires, or within another mutually agreed
upon time, and [Zurich] succeed[s] in performing the audit to [Zurich’s] satisfaction,
[Zurich] will revise [First Rate’s] total premium and the costs due to reflect the
results of the audit.”; and (e) among other things, a copy of the Agreement is
attached to the complaint as Exhibit A. Except as so admitted, First Rate is without
sufficient knowledge or information to form a belief as to the truth of the remaining
allegations contained in paragraph 7, and, on that basis, First Rate denies those
allegations

8. Answering paragraph 8 of the complaint, First Rate admits that one of
the endorsements to the Agreement states: “[First Rate] must provide [Zurich], or
[Zurich’s] authorized representative, access to records necessary to perform a
payroll verification audit. 1f [First Rate] fail[s] to provide access within 90 days after
expiration of the policy, [FirstRate] [is] liable to pay a total premium equal to 3
times [Zurich’s] current estimate of the annual premium for [First Rate’s] policy, 1n
addition, if [First Rate] fail[s] to provide access after [Zurich’s] third request within
a 90 day or longer period, [First Rate] [is] also liable for [Zurich’s] costs in
attempting to perform the audit unless [First Rate] provide[s] a compelling business
reason for [its] failure. [11] [Zurich] will contact [First Rate] to schedule
appointments during normal business hours [11] [Zurich] will notify [First Rate] of
[First Rate’s] failure to provide access by mailing a certified, return-receipt
document stating the increased premium and the total amount of [Zurich’s] costs
incurred in [Zurich’s] attempt(s) to perform an audit. 1n addition to any other
obligations under this contract, 30 days after you receive the notification, [First
Rate] will be obligated to pay the total premium and costs referenced above. 1f,
thereafter, [First Rate] provide[s] access to [First Rate’s] records within three years
after the policy expires, or within another mutually agreed upon time, and [Zurich]
succeed[s] in performing the audit to [Zurich’s] satisfaction, [Zurich] will revise

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[First Rate’s] total premium and the costs due to reflect the results of the audit.”
Except as so admitted, First Rate denies each and every allegation contained in
paragraph 8.

9. Answering paragraph 9 of the complaint, First Rate admits that: (a) one
of the endorsements to the Agreement states: “[First Rate] must provide [Zurich], or
[Zurich’s] authorized representative, access to records necessary to perform a
payroll verification audit. 1f [First Rate] fail[s] to provide access within 90 days after
expiration of the policy, [First Rate] [is] liable to pay a total premium equal to 3
times [Zurich’s] current estimate of the annual premium for [First Rate’s] policy, In
addition, if [First Rate] fail[s] to provide access after [Zurich’s] third request within
a 90 day or longer period, [First Rate] [is] also liable for [Zurich’s] costs in
attempting to perform the audit unless [First Rate] provide[s] a compelling business
reason for [its] failure. [11] [Zurich] will contact [First Rate] to schedule
appointments during normal business hours [11] [Zurich] will notify [First Rate] of
[First Rate’s] failure to provide access by mailing a certified, return-receipt
document stating the increased premium and the total amount of [Zurich’s] costs
incurred in [Zurich’s] attempt(s) to perform an audit. 1n addition to any other
obligations under this contract, 30 days after you receive the notification, [First
Rate] will be obligated to pay the total premium and costs referenced above. 1f,
thereafter, [First Rate] provide[s] access to [First Rate’s] records within three years
after the policy expires, or within another mutually agreed upon time, and [Zurich]
succeed[s] in performing the audit to [Zurich’s] satisfaction, [Zurich] will revise
[First Rate’s] total premium and the costs due to reflect the results of the audit.”; and
(b) Zurich made more than one request to First Rate to perform a payroll verification
audit. Except as so admitted, First Rate is without sufficient knowledge or
information to form a belief as to the truth of the remaining allegations contained in
paragraph 9, and, on that basis, First Rate denies those allegations

10. Answering paragraph 10 of the complaint, First Rate admits that one of

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the endorsements to the Agreement states, in part: “The premium shown on the
Information Page, schedules, and endorsements is an estimate. The final premium
will be determined after this policy ends by using the actual, not the estimated,
premium basis and the proper classifications and rates that lawfully apply to the
business and work covered by this policy, If the final premium is more than the
premium [First Rate] paid to [Zurich], [First Rate] must pay [Zurich] the balance. If
it is less, [Zurich] will refund the balance to [First Rate].” First Rate is without
sufficient knowledge or information to form a belief as to the allegations, insofar as
they pertain to the other Defendants, and, on that basis, denies the allegations,
insofar as they pertain to the other Defendants Except as specifically admitted, and
except as denied on the basis of insufficient knowledge or information to form a
belief, First Rate denies each and every allegation contained in paragraph 10.

11. Answering paragraph 11 of the complaint, First Rate admits that one of
the endorsements to the Agreement states: “[First Rate] must provide [Zurich], or
[Zurich’s] authorized representative, access to records necessary to perform a
payroll verification audit. 1f [First Rate] fail[s] to provide access within 90 days after
expiration of the policy, [First Rate] [is] liable to pay a total premium equal to 3
times [Zurich’s] current estimate of the annual premium for [First Rate’s] policy, In
addition, if [First Rate] fail[s] to provide access after [Zurich’s] third request within
a 90 day or longer period, [First Rate] [is] also liable for [Zurich’s] costs in
attempting to perform the audit unless [First Rate] provide[s] a compelling business
reason for [its] failure.' [11] [Zurich] will contact [First Rate] to schedule
appointments during normal business hours [1[] [Zurich] will notify [First Rate] of
[First Rate’s] failure to provide access by mailing a certified, return-receipt
document stating the increased premium and the total amount of [Zurich’s] costs
incurred in [Zurich’s] attempt(s) to perform an audit. 1n addition to any other
obligations under this contract, 30 days after you receive the notification, [First
Rate] will be obligated to pay the total premium and costs referenced above. 1f,

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thereafter, [First Rate] provide[s] access to [First Rate’s] records within three years
after the policy expires, or within another mutually agreed upon time, and [Zurich]
succeed[s] in performing the audit to [Zurich’s] satisfaction, [Zurich] will revise
[First Rate’s] total premium and the costs due to reflect the results of the audit.”
First Rate is without sufficient knowledge or information to form a belief as to the
allegations insofar as they pertain to the other Defendants, and, on that basis, denies
the allegations, insofar as they pertain to the other Defendants First Rate is also
without sufficient knowledge or information to form a belief as to the allegation that
Zurich estimated the additional premium owed, and, on that basis, denies that
allegation. Except as specifically admitted, and except as denied on the basis of
insufficient knowledge or information to form a belief, First Rate denies each and
every allegation contained in paragraph 11.

12. Answering paragraph 12 of the complaint, First Rate admits that it
received an invoice, from Zurich, which invoice was dated August 20, 2015, and
which invoice was in the amount of $345,808.00. Except as so admitted, First Rate
is without sufficient knowledge or information to form a belief as to the truth of the
remaining allegations contained in paragraph 12, and, on that basis, First Rate
denies those allegations

13. Answering paragraph 13 of the complaint, First Rate admits that, in the
latter half of January 2016, Zurich made a follow-up demand for payment of
$345,808.00, and that, in response to that follow-up demand, First Rate paid
$15,000.00 to Zurich. First Rate is without sufficient knowledge or information to
form a belief as to the remaining allegations contained in paragraph 13, and, on that
basis, First Rate denies those allegations

14. Answering paragraph 14 of the complaint, First Rate admits that, on or
about February 8, 2016, Zurich made a follow-up demand for payment of
$330,808.00, and that, in response, First Rate paid another $15,000.00. First Rate is
without sufficient knowledge or information to form a belief as to the remaining

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allegations contained in paragraph 14, and, on that basis, First Rate denies those
allegations

15. Answering paragraph 15 of the complaint, First Rate admits that Zurich
made follow-up efforts to get First Rate to pay $330,808.00, and that First Rate
refused to pay $330,808.00 in a lump sum. First Rate is without sufficient
knowledge or information to form a belief as to the allegations, insofar as they
pertain to the other Defendants, and, on that basis, denies the allegations, insofar as
they pertain to the other Defendants. Except as specifically admitted, and except as
denied on the basis of insufficient knowledge or information to form a belief, First
Rate denies each and every allegation contained in paragraph 15.

16. Answering paragraph 16 of the complaint, First Rate admits that: (a) on
May 31, 2016, Zurich filed an action in the United States District Court for the
Central District of California, Western Division, titled Zurich American Insurance
Company of Illinois v. First Rate Staffing Corporation, et al., Case No. 2116-cv-
3779 (the “Initial Lawsuit”); (b) Zurich’s complaint in the Initial Lawsuit asserted
two causes of action; (c) the first cause of action in the complaint in the Initial
Lawsuit stated that it Was for breach of contract, and it was based on allegations that
First Rate had refused to submit to a payroll audit and that First Rate had failed to
pay the balance of an estimated premium adjustment; and (d) the second cause of
action in the Initial Lawsuit stated that it was for breach of contract for specific
performance, and, among the relief it sought was “an order compelling Defendants
to submit to and cooperate fully with payroll and remuneration audits by Zurich.”
Except as so admitted, First Rate denies each and every allegation contained in
paragraph 16.

17. Answering paragraph 17 of the complaint, First Rate admits that: (a)
one of the endorsements to the Agreement states, in part: “The premium shown on
the Information Page, schedules, and endorsements is an estimate. The final
premium will be determined after this policy ends by using the actual, not the

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 15 of 77 Page |D #:313

estimated, premium basis and the proper classifications and rates that lawfully apply
to the business and work covered by this policy. 1f the final premium is more than
the premium [First Rate] paid to [Zurich], [First Rate] must pay [Zurich] the
balance. 1f it is less, [Zurich] will refund the balance to [First Rate].”; (b) another of
the endorsements to the Agreement states: “[First Rate] must provide [Zurich], or
[Zurich’s] authorized representative, access to records necessary to perform a
payroll verification audit. 1f [First Rate] fail[s] to provide access within 90 days after
expiration of the policy, [First Rate] [is] liable to pay a total premium equal to 3
times [Zurich’s] current estimate of the annual premium for [First Rate’s] policy, In
addition, if [First Rate] fail[s] to provide access after [Zurich’s] third request within
a 90 day or longer period, [First Rate] [is] also liable for [Zurich’s] costs in
attempting to perform the audit unless [First Rate] provide[s] a compelling business
reason for [its] failure. [11] [Zurich] will contact [First Rate] to schedule
appointments during normal business hours [11] [Zurich] will notify [First Rate] of
[First Rate’s] failure to provide access by mailing a certified, return-receipt
document stating the increased premium and the total amount of [Zurich’s] costs
incurred in [Zurich’s] attempt(s) to perform an audit. 1n addition to any other
obligations under this contract, 30 days after you receive the notification, [First
Rate] will be obligated to pay the total premium and costs referenced above. 1f,
thereafter, [First Rate] provide[s] access to [First Rate’s] records within three years
after the policy expires, or within another mutually agreed upon time, and [Zurich]
succeed[s] in performing the audit to [Zurich’s] satisfaction, [Zurich] will revise
[First Rate’s] total premium and the costs due to reflect the results of the audit.”; (c)
in or about January 2017, First Rate agreed to allow Zurich to perform a payroll
audit, under the Agreement; (d) as of January 2017, the Initial Action had been
pending for about seven months; and (e) in or about January 2017, when First Rate
agreed to allow Zurich to perform a payroll audit, under the Agreement, the trial in
the 1nitial Action was scheduled to begin on July 11, 2017. Except as so admitted,

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 16 of 77 Page |D #:314

First Rate denies each and every allegation contained in paragraph 17.

18. Answering paragraph 18 of the complaint, First Rate admits the
allegation therein.

19. Answering paragraph 19 of the complaint, First Rate admits that: (a)
the 1nitial Action was dismissed without prejudice; (b) before the Initial Action was
dismissed without prejudice, there was a stipulation in which the parties agreed,
among other things, that the trial date, and certain pretrial dates, would be continued
(the “Stipulation”); and (c) before the lnitial Action was dismissed without
prejudice, the presiding judge, after reviewing the Stipulation, entered an order that,
among other things, continued the motion cut-off date, but that did not continue the
discovery cut-off or the trial date, Except as so admitted, First Rate denies each and
every allegation contained in paragraph 19.

20. Answering paragraph 20 of the complaint, First Rate admits that: (a) in
or about May 2017, First Rate was advised that Zurich considered the payroll audit
to be “final”; and (b) Zurich claims that First Rate owes a premium adjustment
amount of $l,233,l70.00. Except as so admitted, First Rate denies each and every
allegation contained in paragraph 20,

21. Answering paragraph 21 of the complaint, First Rate admits that: (a) it
received, from Zurich, an invoice and demand for payment that was dated May 10,
2017, and which sought payment of $1 ,203,170.00; and (b) the due date on the
invoice and demand for payment was May 25, 2017. First Rate is without sufficient
knowledge or information to form a belief as to the remaining allegations contained
in paragraph 21, and, on that basis, First Rate denies those allegations

22. Answering paragraph 22 of the complaint, First Rate admits that it
made no response to Zurich’s demand for payment of $1,203,170.00. First Rate is
without sufficient knowledge or information to form a belief as to the remaining
allegations contained in paragraph 22, and, on that basis, First Rate denies those

allegations

 

 

 

 

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 17 of 77 Page |D #:315

23. Answering paragraph 23 of the complaint, First Rate admits that it did
not respond to any invoice, or demand for payment, by Zurich for the claimed
premium adjustment balance of $1,203,170.00. Except as so admitted, First Rate
denies each and every allegation contained in paragraph 23, including the allegation
that the premium adjustment balance is $1,203,170.00.

24. Answering paragraph 24 of the complaint, First Rate references
paragraphs 1 through 23 of this answer, and, by such reference, incorporates herein
all of the denials and admissions contained therein, as if the same were set forth
herein in full.

25. Answering paragraph 25 of the complaint, First Rate admits that: (a) it
purchased the Agreement from Zurich; (b) one of the endorsements to the
Agreement states, in part: “The premium shown on the Information Page, schedules,
and endorsements is an estimate The final premium will be determined after this
policy ends by using the actual, not the estimated, premium basis and the proper
classifications and rates that lawfully apply to the business and work covered by this
policy. If the final premium is more than the premium [First Rate] paid to [Zurich],
[First Rate] must pay [Zurich] the balance. If it is less, [Zurich] will refund the
balance to [First Rate].”; and (c) another of the endorsements to the Agreement
states: “[First Rate] must provide [Zurich], or [Zurich’s] authorized representative,
access to records necessary to perform a payroll verification audit. 1f [First Rate]
fail[s] to provide access within 90 days after expiration of the policy, [First Rate]
[is] liable to pay a total premium equal to 3 times [Zurich’s] current estimate of the
annual premium for [First Rate’s] policy, In addition, if [First Rate] fail[s] to
provide access after [Zurich’s] third request within a 90 day or longer period, [First
Rate] [is] also liable for [Zurich’s] costs in attempting to perform the audit unless
[First Rate] provide[s] a compelling business reason for [its] failure. [11] [Zurich]
will contact [First Rate] to schedule appointments during normal business hours [11]
[Zurich] will notify [First Rate] of [First Rate’s] failure to provide access by mailing

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 18 of 77 Page |D #:316

a certified, return-receipt document stating the increased premium and the total
amount of [Zurich’s] costs incurred in [Zurich’s] attempt(s) to perform an audit. In
addition to any other obligations under this contract, 30 days after you receive the
notification, [First Rate] will be obligated to pay the total premium and costs
referenced above. 1f, thereafter, [First Rate] provide[s] access to [First Rate’s]
records within three years after the policy expires, or within another mutually agreed
upon time, and [Zurich] succeed[s] in performing the audit to [Zurich’s] satisfaction,
[Zurich] will revise [First Rate’s] total premium and the costs due to reflect the
results of the audit.” Except as so admitted, First Rate is without sufficient
knowledge or information to form a belief as to the truth of the remaining
allegations contained in paragraph 25, and, on that basis, First Rate denies those
allegations

26. Answering paragraph 26 of the complaint, First Rate admits that: (a)
one of the endorsements to the Agreement states, in part: “The premium shown on
the Information Page, schedules, and endorsements is an estimate. The final
premium will be determined after this policy ends by using the actual, not the
estimated, premium basis and the proper classifications and rates that lawfully apply
to the business and work covered by this policy. 1f the final premium is more than
the premium [First Rate] paid to [Zurich], [First Rate] must pay [Zurich] the
balance. 1f it is less, [Zurich] will refund the balance to [First Rate].”; and (b)
another of the endorsements to the Agreement states: “[First Rate] must provide
[Zurich], or [Zurich’s] authorized representative, access to records necessary to
perform a payroll verification audit. 1f [First Rate] fail[s] to provide access within 90
days after expiration of the policy, [First Rate] [is] liable to pay a total premium
equal to 3 times [Zurich’s] current estimate of the annual premium for [First Rate’s]
policy, ln addition, if [First Rate] fail[s] to provide access after [Zurich’s] third
request within a 90 day or longer period, [First Rate] [is] also liable for [Zurich’s]
costs in attempting to perform the audit unless [First Rate] provide[s] a compelling

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 19 of 77 Page |D #:317

business reason for [its] failure. [11] [Zurich] will contact [First Rate] to schedule
appointments during normal business hours [11] [Zurich] will notify [First Rate] of
[First Rate’s] failure to provide access by mailing a certified, return-receipt
document stating the increased premium and the total amount of [Zurich’s] costs
incurred in [Zurich’s] attempt(s) to perform an audit. 1n addition to any other
obligations under this contract, 30 days after you receive the notification, [First
Rate] will be obligated to pay the total premium and costs referenced above. 1f,
thereafter, [First Rate] provide[s] access to [First Rate’s] records within three years
after the policy expires, or within another mutually agreed upon time, and [Zurich]
succeed[s] in performing the audit to [Zurich’s] satisfaction, [Zurich] will revise
[First Rate’s] total premium and the costs due to reflect the results of the audit.”
Except as so admitted, First Rate is without sufficient knowledge or information to
form a belief as to the truth of the remaining allegations contained in paragraph 26,
and, on that basis, First Rate denies those allegations

27. Answering paragraph 27 of the complaint, First Rate admits that: (a)
one of the endorsements to the Agreement states: “[First Rate] must provide
[Zurich], or [Zurich’s] authorized representative, access to records necessary to
perform a payroll verification audit. 1f [First Rate] fail[s] to provide access within 90
days after expiration of the policy, [First Rate] [is] liable to pay a total premium
equal to 3 times [Zurich’s] current estimate of the annual premium for [First Rate’s]
policy. 1n addition, if [First Rate] fail[s] to provide access after [Zurich’s] third
request within a 90 day or longer period, [First Rate] [is] also liable for [Zurich’s]
costs in attempting to perform the audit unless [First Rate] provide[s] a compelling
business reason for [its] failure. [11] [Zurich] will contact [First Rate] to schedule
appointments during normal business hours [11] [Zurich] will notify [First Rate] of
[First Rate’s] failure to provide access by mailing a certified, return-receipt
document stating the increased premium and the total amount of [Zurich’s] costs
incurred in [Zurich’s] attempt(s) to perform an audit. ln addition to any other

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 20 of 77 Page |D #:318

obligations under this contract, 30 days after you receive the notification, [First
Rate] will be obligated to pay the total premium and costs referenced above. 1f,
thereafter, [First Rate] provide[s] access to [First Rate’s] records within three years
after the policy expires, or within another mutually agreed upon time, and [Zurich]
succeed[s] in performing the audit to [Zurich’s] satisfaction, [Zurich] will revise
[First Rate’s] total premium and the costs due to reflect the results of the audit.”; and
(b) Zurich made more than one request to First Rate to perform a payroll verification
audit. Except as so admitted, First Rate is without sufficient knowledge or
information to form a belief as to the truth of the remaining allegations contained in
paragraph 27, and, on that basis, First Rate denies those allegations

28. Answering paragraph 28 of the complaint, First Rate admits that one of
the endorsements to the Agreement states, in part: “The premium shown on the
Information Page, schedules, and endorsements is an estimate. The final premium
will be determined after this policy ends by using the actual, not the estimated,
premium basis and the proper classifications and rates that lawfully apply to the
business and work covered by this policy. 1f the final premium is more than the
premium [First Rate] paid to [Zurich], [First Rate] must pay [Zurich] the balance. If
it is less, [Zurich] will refund the balance to [First Rate].” First Rate is without
sufficient knowledge or information to form a belief as to the allegations, insofar as
they pertain to the other Defendants, and, on that basis, denies the allegations,
insofar as they pertain to the other Defendants. Except as specifically admitted, and
except as denied on the basis of insufficient knowledge or information to form a
belief, First Rate denies each and every allegation contained in paragraph 28.

29. Answering paragraph 29 of the complaint, First Rate admits that: (a)
one of the endorsements to the Agreement states, in part: “The premium shown on
the Information Page, schedules, and endorsements is an estimate. The final
premium will be determined after this policy ends by using the actual, not the
estimated, premium basis and the proper classifications and rates that lawfully apply

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 21 of 77 Page |D #:319

to the business and work covered by this policy. If the final premium is more than
the premium [First Rate] paid to [Zurich], [First Rate] must pay [Zurich] the
balance. 1f it is less, [Zurich] will refund the balance to [First Rate].”; (b) another of
the endorsements to the Agreement states: “[First Rate] must provide [Zurich], or
[Zurich’s] authorized representative, access to records necessary to perform a
payroll verification audit, If [First Rate] fail[s] to provide access within 90 days after
expiration of the policy, [First Rate] [is] liable to pay a total premium equal to 3
times [Zurich’s] current estimate of the annual premium for [First Rate’s] policy. In
addition, if [First Rate] fail[s] to provide access after [Zurich’s] third request within
a 90 day or longer period, [First Rate] [is] also liable for [Zurich’s] costs in
attempting to perform the audit unless [First Rate] provide[s] a compelling business
reason for [its] failure. [11] [Zurich] will contact [First Rate] to schedule
appointments during normal business hours [11] [Zurich] will notify [First Rate] of
[First Rate’s] failure to provide access by mailing a certified, return-receipt
document stating the increased premium and the total amount of [Zurich’s] costs
incurred in [Zurich’s] attempt(s) to perform an audit. 1n addition to any other
obligations under this contract, 30 days after you receive the notification, [First
Rate] will be obligated to pay the total premium and costs referenced above. 1f,
thereafter, [First Rate] provide[s] access to [First Rate’s] records within three years
after the policy expires, or within another mutually agreed upon time, and [Zurich]
succeed[s] in performing the audit to [Zurich’s] satisfaction, [Zurich] will revise
[First Rate’s] total premium and the costs due to reflect the results of the audit.”; (c)
in or about January 2017, First Rate agreed to allow Zurich to perform a payroll
audit, under the Agreement; (d) as of January 2017, the 1nitial Action had been filed;
(e) in or about January 2017, when First Rate agreed to allow Zurich to perform a
payroll audit, under the Agreement, the trial in the lnitial Action was scheduled to
begin on July 11, 2017; and (f) a payroll audit of First Rate was performed by
Zurich on March 3, 2017. First Rate is without sufficient knowledge or information

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 22 of 77 Page |D #:320

to form a belief as to the remaining allegations contained in paragraph 29, and, on
that basis, First Rate denies those allegations

30. Answering paragraph 30 of the complaint, First Rate admits that: (a) in
or about May 2017, First Rate was advised that Zurich considered the payroll audit
to be “final”; (b) Zurich claims that First Rate owed a premium adjustment amount
of $l,233,170.00; and (c) First Rate is entitled to $30,000 in credits against any
premium adjustment amount that it may owe. First Rate is without sufficient
knowledge or information to form a belief as to the allegations insofar as they
pertain to the other Defendants, and, on that basis, denies those allegations, insofar
as they pertain to the other Defendants Except as specifically admitted, and except
as denied on the basis of insufficient knowledge or information to form a belief,
First Rate denies each and every allegation contained in paragraph 30.

31. Answering paragraph 31 of the complaint, First Rate admits that: (a)
on or about May 10, 2017, First Rate received, from Zurich, the supposed results of
a payroll audit, and an invoice and demand for payment of $1,203,170.00; and (b)
the due date on the invoice and demand for payment was May 25, 2017. First Rate is
without sufficient knowledge or information to form a belief as to the remaining
allegations contained in paragraph 31, and, on that basis, First Rate denies those
allegations

32. Answering paragraph 32 of the complaint, First Rate admits that it
made no response to Zurich’s invoice and demand for payment of 81,203,170.00,
and that it made no payment in response to Zurich’s invoice and demand for
payment of $l,203,170.00. First Rate is without sufficient knowledge or information
to form a belief as to the remaining allegations contained in paragraph 32, and, on
that basis, First Rate denies those allegations

33. Answering paragraph 33 of the complaint, First Rate admits that: (a) it
has made no payments, to Zurich, in response to the claimed premium adjustment
balance of $1,203,170.00; and (b) it has not been responsive to requests, by Zurich,

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 23 of 77 Page |D #:321

to pay the claimed premium adjustment balance of $1,203,170.00. First Rate is
without sufficient knowledge or information to form a belief as to the remaining
allegations contained in paragraph 33, and, on that basis, First Rate denies those
allegations

34. Answering paragraph 34 of the complaint, First Rate denies each and
every allegation therein.

35. Answering paragraph 35 of the complaint, First Rate admits that it has
not paid the claimed premium adjustment balance of $l,203,170.00. First Rate is
without sufficient knowledge or information to form a belief as to the allegations,
insofar as they pertain to the other Defendants, and, on that basis, denies the
allegations, insofar as they pertain to the other Defendants Except as specifically
admitted, and except as denied on the basis of insufficient knowledge or information
to form a belief, First Rate denies each and every allegation contained in paragraph
35, including the allegation that the premium adjustment balance is $1,203,170.00.

36. Answering paragraph 36 of the complaint, First Rate is without
sufficient knowledge or information to form a belief as to the allegations, insofar as
they pertain to the other Defendants, and, on that basis, denies the allegations,
insofar as they pertain to the other Defendants. Except as denied on the basis of
insufficient knowledge or information to form a belief, First Rate denies each and
every allegation contained in paragraph 36, and specifically denies that Zurich has
been damaged in any amount.

37. Answering paragraph 37 of the complaint, First Rate admits that Zurich
seeks to obtain a judgment for damages according to proof, plus daily pre-judgment
interest calculated at the statutory rate of ten (10) percent per annum, costs of suit,
and such other and further relief as the court deems proper. Except as specifically

admitted, First Rate denies each and every allegation contained in paragraph 37.

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 24 of 77 Page |D #:322

AFFIRMATIVE DEFENSES
FIRST AFFIRMATIVE DEFENSE
(Off Set)

1. First Rate is entitled to an off set of the amount Plaintiff seeks because
Plaintiff (a) failed to give First Rate credit for payments made; (b) breached the
implied warranty of good faith and fair dealing by acting unreasonably, which
denied First Rate its benefits under the contract as alleged in more detail herein; (c)
breached the terms of the contract thereby financially damaging as alleged in more
detail herein; (d) and Plaintiff performed that acts alleged herein with knowledge of
the financial consequences to First Rate and its future business

SECOND AFFIRMATIVE DEFENSE
(Failure to Mitigate Damages)

2. Plaintiff is not entitled to interest and/or attorneys’ fees when it
allowed them to add up unnecessarily by failing to perform a prompt payroll audit,
and failing to take prompt action to collect the alleged debt due to its later defective
payroll audit and temporary abandonment of its own claims

THIRD AFFIRMATIVE DEFENSE
(Breach of Contract by Plaintiff)

3. Plaintiff failed to comply with the terms of the contract by (a) failing
to give First Rate credit for payments made; (b) breaching the implied warranty of
good faith and fair dealing by acting unreasonably, which denied First Rate its
benefits under the contract as alleged in more detail herein; (c) by breaching the
terms of the contract thereby damaging First Rate in an amount greater than that
demanded by Plaintiff.

FOURTH AFFIRMATIVE DEFENSE
(Fraudulent Inducement)

4. Plaintiff represented that it would comply with its rate filings and

schedule modification rating, on which First Rate relied when entering the

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17-cV-O4864-CAS-KS Document 32-3 Filed 04/06/18 Page 25 of 77 Page |D #:323

Agreement, Plaintiff did not comply with its rate filings and schedule modification
rating, as alleged in more detail herein.
FIFTH AFFIRMATIVE DEFENSE
(Waiver)

5. Plaintiff has waived its right to pursue its claims by reason of its own
actions and course of conduct, including but not limited to Plaintiff’s
misrepresentations and omissions of material facts concerning its Agreement,
Plaintiffs refusal to perform a timely payroll audit, Plaintiff’s unilateral and
premature decision to generate an estimated audit, Plaintiffs premature decision to
falsely report First Rate as uncooperative to the WCIRB, and Plaintiff s failure to
warn First Rate of the actions Plaintiff had taken as required of Plaintiff by its
Agreement, State regulations, and its own internal procedures

SIXTH AFFIRMATIVE DEFENSE
(Public Policy)

6. Plaintiff violated public policy by engaging in the illegal conduct of
refusing to comply with its own rate filings or State regulations that exist to protect
insureds like First Rate.

SEVENTH AFFIRMATIVE DEFENSE
(Equitable Estoppel)

7. Plaintiff chose to generate an estimated audit as it would for an
uncooperative insured, and report First Rate as uncooperative to the WCIRB. By
doing so, Plaintiff caused First Rate to suffer all of the statutory and regulatory
consequences of being an uncooperative insured, even though it was not. In
response to the consequences that the Plaintiff intentionally and knowingly set in
motion, First Rate was forced to substantially and significantly change the way it
does business, and suffered substantial financial losses Therefore Plaintiff, having
elected to follow this course of conduct/remedy, is entitled to collect no more than
the amount due under the estimated audit.

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17-cV-O4864-CAS-KS Document 32-3 Filed O4/O6/18 Page 26 of 77 Page |D #:324

EIGHTH AFFIRMATIVE DEFENSE
(Promissory Estoppel)

8. Plaintiff chose to generate an estimated audit as it would for an
uncooperative insured, and report First Rate as uncooperative to the WCIRB. By
doing so, Plaintiff caused First Rate to suffer all of the statutory and regulatory
consequences of being an uncooperative insured, even though it was not. In
response to the consequences the Plaintiff intentionally and knowingly set in
motion, First Rate was forced to substantially and significantly change the way it
does business, and suffered substantial financial losses Therefore Plaintiff, having
elected to follow this course of conduct/remedy, is entitled to collect no more than
the amount due under the estimated audit,

NINTH AFFIRMATIVE DEFENSE
(Election Of Remedy)

9. Plaintiff chose to generate an estimated audit as it would for an
uncooperative insured, and report First Rate as uncooperative to the WCIRB. By
doing so, Plaintiff caused First Rate to suffer all of the Statutory and regulatory
consequences of being an uncooperative insured, even though it was not. In
response to the consequences the Plaintiff intentionally and knowingly set in
motion, First Rate was forced to substantially and significantly change the way it
does business, and suffered substantial financial losses Therefore Plaintiff, having
elected to follow this course of conduct/remedy, is entitled to collect no more than
the amount due under the estimated audit.

TENTH AFFIRMATIVE DEFENSE
(Excused Performance)

10. Plaintiff chose to generate an estimated audit as it would for an
uncooperative insured, and report First Rate as uncooperative to the WCIRB. By
doing so, Plaintiff caused First Rate to suffer all of the statutory and regulatory
consequences of being an uncooperative insured, even though it was not. 1n

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17-cV-O4864-CAS-KS Document 32-3 Filed O4/O6/18 Page 27 of 77 Page |D #:325

response to the consequences the Plaintiff intentionally and knowingly set in
motion, First Rate was forced to substantially and significantly change the way it
does business, and suffered substantial financial losses Therefore Plaintiff, having
elected to follow this course of conduct/remedy, excused First Rate’s obligation to

pay Plaintiff based on the outcome of an actual payroll audit.

PRAYER FOR RELIEF
WHEREFORE, First Rate prays for judgment as follows:
1. That Zurich take nothing by its complaint;
2 That judgment be entered for First Rate;
3. That First Rate be awarded its costs of suit; and
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For such other relief as the Court deems proper.

SECOND AMENDED COUNTERCLAIM
Defendant First Rate Staffing Corporation (“First Rate”) counterclaims
against plaintiff Zurich American Insurance Company of lllinois (“Zurich”), Zurich
North America (“Zurich NA”) and World Wide Specialty Programs, 1nc. (“World
Wide”) as follows:

Parties
l. First Rate is a Delaware corporation. lts principal place of business is in
Santa Fe Springs, California.
2. First Rate is informed and believes, and based upon such information

and belief alleges, that, Zurich is an lllinois corporation, and that its principal place
of business is in Schaumburg, lllinois

3. First Rate is informed and believes, and based upon such information
and belief alleges, that, Zurich NA is an Illinois corporation, and that its principal
place of business is in Schaumburg, Illinois. First Rate is also informed an believes,

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17-cV-O4864-CAS-KS Document 32-3 Filed O4/O6/18 Page 28 of 77 Page |D #:326

and based upon such information and belief alleges, that each of the insurance
carriers that operate under the “Zurich” name in California, including the Plaintiff
and Counter-Defendant Zurich American Insurance Company of lllinois, are part of,
or subsidiaries of, Zurich NA. First Rate is informed and believes, and based upon
such information and belief alleges that all employees working for Plaintiff and
Counter-Defendant Zurich American Insurance Company of lllinois are directly
employed by Zurich NA.

4. First Rate is informed and believes, and based upon such information
and belief alleges that World Wide is a New York corporation, and that its principal
place of business is in Melville, New York.

5. At all times herein mentioned, Counter-Defendants, and each of them,
were the agents, servants, and employees of each of the other Counter-Defendants
herein, and at the same time and place of the events hereinafter described, were
acting within the course and scope of said agency and employment with the
permission and consent of the other Counter-Defendants and each of them. Counter-
Defendants are, and each of them is, the alter ego of the other Counter-Defendants,
and Counter-Defendants are essentially the extension of each other.

Jurisdiction and Venue

6. This Court has jurisdiction over this counterclaim under 28 U.S.C. §
1332, and under 28 U.S.C. § 1367(a).

7. Venue is proper in this district under 28 U.S.C. § 1391(b)(2), and
because Zurich filed its lawsuit against First Rate in this district.

8. This Court has personal jurisdiction over Zurich NA because, through
its four insurance carriers, including Plaintiff and Counter-Defendant Zurich
American Insurance Company of lllinois, Zurich NA transacts business throughout
California, and has offices in Los Angeles lndividuals employed by Zurich NA
made decisions that affected First Rate’s workers’ compensation insurance policy,
including but not limited to the decision to place First Rate with the Plaintiff and

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17-cV-O4864-CAS-KS Document 32-3 Filed O4/O6/18 Page 29 of 77 Page |D #:327

Counter-Defendant Zurich American Insurance Company of lllinois

9. This Court has personal jurisdiction over World Wide because, on
information and belief, it markets to and does business in nearly all 50 States,
including throughout California. This is reflected in its webpage at www.World
Widei.com. World Wide is an agent and associate of Zurich and Zurich NA for
business throughout California. World Wide was a co-conspirator with Zurich and
Zurich NA concerning the events alleged herein, as specifically concerns First Rate.

General Allegations

10. First Rate procured three workers’ compensation insurance policies
from Zurich NA. For all three years, Zurich NA placed First Rate in a policy issued
by Zurich, with policy numbers WC 9491028-00, WC 9491028-01, and WC
9491028-02, respectively. The policy periods were May 7, 2012 to May 7, 2013
(the “2012 policy”), May 7, 2013 to May 7, 2014 (the “2013 policy”), May 7, 2014
to 2015 (the “2014 policy”). These are collectively referred to herein as the
“Policies” First Rate paid premium for each policy.

11. Because payroll fluctuates, the policy requires a payroll audit to take
place within three years after the policy ends The Policies state that “the final
premium will be determined after this policy ends by using the actual premium basis
and the proper classifications rate and rating plans that lawfully apply to the
business and work covered by this policy.”

12. Under applicable regulations, Zurich was required to provide, to the
WCIRB, audited payroll figures for First Rate. Those regulations became a part of
the Agreement as fully as if incorporated therein by reference.

13. Zurich’s policy requires that “[a]ll premium for this policy will be
determined by our manuals of rules, rates, rating plans and classifications.” Zurich
must file its rating plans with, and have them approved by, the California

Department of Insurance.

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 30 of 77 Page |D #:328

The Schedule Modiflcation Rating

 

14. One of the components in determining premium is a schedule
modification or rating. Carriers such as Zurich include in their rate filings or rating
plans a description and range of modifications that they will use to evaluate and
determine an insured’s schedule modification

15. Zurich’s rating tables provide that an insured can receive a maximum
credit or debit of 50%. A credit decreases the premium amount, while a debit does
the opposite. First Rate received the maximum 50% debit for its 2012 and 2013
policies and a 32% debit for its 2014 policy.

16. While Zurich appears to have filed and obtained approval for its
schedule modification rating plans, First Rate contends that Zurich failed to properly
evaluate and determine First Rate’s schedule modifications for the Policies.

17. Zurich was obligated under the Policies and the implied covenants
contained therein to properly evaluate and determine First Rate’s schedule
modifications This is to be done in a fair, reasonable, non-arbitrary, and non-
discriminatory manner. Zurich failed to do this

18. Instead, Zurich made its determinations in an arbitrary and capricious
manner, and without regard to the requirements imposed on it by the language in its
own schedule modification rate filings

19. Only through recent discovery in this action did First Rate learn that
Zurich refused to follow its own schedule modification rate filings Instead, Zurich
had an undisclosed, discriminatory policy of surcharging staffing companies, like
First Rate, by applying the maximum, or nearly the maximum, debit. This was a
breach of the Policies and of the implied covenant of good faith and fair dealing.

20, Zurich’s Schedule Rating Worksheet for the First Rate 2013 policy
reflects that First Rate should have received a 5% debit schedule modification
Zurich instead used a 50% debit to increase First Rate’s premiums by a substantial
amount. This was done pursuant to its illegal corporate policy of surcharging

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 31 of 77 Page |D #:329

staffing companies at or near the maximum schedule modification percentage
amount, regardless of whether the staffing company qualified for or should have
received a better schedule modification Zurich then created an undated and
unsigned Schedule Rating Worksheet, also for the 2013 policy. On information and
belief, Zurich created it an attempt to create a false pretext for why it charged First
Rate staffing a 50% debit.

21. Zurich failed to follow and apply schedule modifications for First Rate
in a fair, reasonable, non-arbitrary, and non-discriminatory manner. Zurich failed to
even prepare a Schedule Rating Worksheet for the 2014 policy before assigning
First Rate a 32% debit.

22. These Schedule Rating Worksheets were never provided to First Rate
and have only recently been obtained through discovery in this action First Rate
was unaware of Zurich’s policy and the manner in which it uniformly debited
staffing companies the maximum or near maximum debit regardless of whether a
staffing company should have received a lower debit or credit.

23. Zurich has testified that the Schedule Rating Worksheets were filled
out by Zurich’s agent and acting underwriter World Wide. Zurich then applied the
schedule ratings to the policies

24. On information and belief, World Wide knew of Zurich’s secret
corporate policy of surcharging all staffing companies across the board, without
regard to a particular insured’s individual characteristics that are required to be
evaluated pursuant to the policy language and rate filings On information and
belief, World Wide colluded and conspired with Zurich in the execution of Zurich’s
illegal policy, as well as the creation of fraudulent Schedule Rating Worksheets, in
direct violation of Zurich’s policy language and its schedule modification rate
filings

25. First Rate first became aware of both the existence and involvement of
World Wide, as alleged herein, through the recent discovery in this action.

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 32 of 77 Page |D #:330

26. Zurich violated its contractual obligations and implied covenant of
good faith and fair dealing to evaluate and apply a schedule rating in a reasonable,
non-arbitrary manner, with due regard to each category listed in the rate filings The
manner in which Zurich came up with the schedule modifications makes illusory the
policy language obligating it to follow its rate filings

27. But for Zurich’s refusal to follow its schedule modification rate filings,
First Rate would have received a more favorable schedule rating modification and
paid a lower premium than it was given and charged by Zurich.

28. At a minimum, there should have been 0 for the schedule modification
for the 2014 policy, Instead, Zurich used a 32% schedule modification, resulting in
additional $438,000 in premium for the 2014 policy. Zurich’s use of 50% schedule
modifications for the 2012 and 2013 policies resulted in overinflated premiums of at
least $200,000 that First Rate has already paid.

The Rate F iling And Carrier Placement

29, ln addition to the schedule modification issue, Zurich in conjunction
with Zurich NA had a second policy and practice that directly violated its own rate
filings Since 2011 and continuing to this day, Zurich NA has placed all temporary
staffing insureds in its most expensive carrier: Zurich the Plaintiff herein On
average, the rates for the most expensive carrier are 20% higher than the rates for
the next most expensive carrier under the Zurich NA umbrella. This has been done
pursuant to another secret corporate policy that discriminates against all staffing
companies across the board.

30. Its rate filing requires insureds to be placed in carriers based on an
assessment of their losses, years in business, and financial information Zurich NA
never advised California regulatory authorities that it would ignore its own rate
filings and penalize temporary staffing companies by uniformly charging them the
highest rates

31. Only through recent discovery in this action did First Rate learn that

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 33 of 77 Page |D #:331

Zurich NA refused to follow its own rate filing and replace it with a discriminatory
policy of placing staffing companies, like First Rate, with the most expensive
carrier. This was a breach of the Policies and of the implied covenant of good faith
and fair dealing.

32. At a minimum, First Rate should have qualified for the second most
expensive carrier. Zurich NA’s failure to place First Rate with that carrier resulted
in a substantial overcharge of premium for all three policies of at least $400,000.

33. On information and belief, World Wide was Zurich NA’s agent and
acting underwriter that was involved in the placement of First Rate with the most
expensive carrier for each of the three Policies

34. On information and belief, World Wide knew of Zurich NA’s secret
corporate policy of placing all staffing companies with its most expensive carrier
without regard to the criteria Zurich NA was required to use when placing insureds
in one of its carriers On information and belief, World Wide colluded and
conspired with Zurich NA in the execution of Zurich NA’s illegal policy in direct
violation of Zurich NA’s rate filing.

35. First Rate first became aware of both the existence and involvement of

World Wide, as alleged herein, through the recent discovery in this action.

The Pa‘groll Audit And Report To The WCIRB

36. Under California law, an employer’s workers’ compensation losses
affect the amount of the premium it will have to pay for workers’ compensation
insurance “To facilitate determination of the accident experience and history of
each insured, the workers’ compensation system allows ‘experience rating,’ a
‘procedure utilizing past insurance experience of the individual policyholder to
forecast future losses by measuring the policyholder’s loss experience against the
loss experience of policyholders in the same classification to produce a prospective

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 34 of 77 Page |D #:332

premium credit, debit, or unity modification.” Allied Interstate, Inc. v. Sessions
Payroll Mgmt., Inc., 203 Cal. App. 4th 808, 818 (2012) (quoting Cal. lns. Code §
1173 0(c)). “The data reported by workers’ compensation insurers . . . ‘provide the
raw material with which to develop an “experience modification factor” for each
qualified employer. That factor plays a part in calculating the employer’s workers’
compensation insurance premium.”’ Id. at 819 (quoting Simi Corp. v. Garamendi,
109 Cal. App. 4th 1496, 1501 (2003).)

37. Workers’ compensation insurers report their data to the Workers’
Compensation Insurance Rating Bureau (the “WCIRB”). The WCIRB is responsible
for calculating each employer’s experience modification factor (“ex-mod”). The
higher an employer’s ex-mod, the higher that employer’s workers’ compensation
insurance premiums will be.

38. One item that the WCIRB uses in calculating an employer’s ex-mod is
the dollar amount of the employer’s payroll. Generally speaking, if the employer’s
workers’ compensation losses remain the same, but its payroll increases, the
employer’s ex-mod will decrease, since the losses are remaining the same despite
more employers, or more hours worked, or both. Conversely, generally speaking, if
the employer’s workers’ compensation losses remain the same, but its payroll
decreases, the employer’s ex-mod will increase, since the losses are remaining the
same despite fewer employees, or less hours worked, or both.

39. Under the applicable regulations incorporated into the Policies, when it
is not possible for an insurer to obtain audited payroll data to submit to the WCIRB,
because the policyholder refuses to provide the insurer access to the payroll and
other required records, the insurer is to notify the WCIRB of that by using the
Estimated Audit Code “U.” Under the applicable regulations incorporated into the
Policies, “[a] ‘U’ Estimated Audit Code means that the insurer has made a good
faith effort to complete the audit and inform the policyholder of the possible
consequences of not permitting the insurer to complete the final audit, which may

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 35 of 77 Page |D #:333

result in the exclusion of the payroll from the policyholder’s experience
modification.”

40. 1n addition the 2014 policy contains an endorsement which mandates
Zurich to “notify [First Rate] of [First Rate’s] failure to provide access [to records
necessary to perform an audit] by mailing a certified, return-receipt document
stating the increased premium and the total amount of our costs incurred in
[Zurich’s] attempt(s) to perform an audit.” (Emphasis added).

41. Zurich’s internal policies and procedures required the Zurich auditor to
send a “Non-Compliant Letter” to First Rate advising First Rate that it had failed to
comply with the audit and providing First Rate ten business days to respond to the
lcttcr.

42. Zurich did not make a good faith effort to perform a payroll audit of
First Rate following the end of the 2014 policy on May 7, 2015, At the end of July,
2015, Zurich refused to perform the audit. At that time, First Rate was attempting to
Schedule the audit for a date in August, 2015, but Zurich refused to schedule it in
August and ceased all communications with First Rate about the audit.

43. Zurich’s auditor generated what is referred to as an “estimated audit”
and reported First Rate’s payroll to the WCIRB using the Estimated Audit Code
“U.” Zurich did all of this to satisfy its own corporate monthly audit quota goals
By refusing to perform the actual audit and generating an estimated audit, Zurich’s
auditor was able to count First Rate in his monthly quota for July 2015.

44. Zurich did not notify First Rate as required of Zurich by statue, the
express terms of its policy, or by Zurich’s own procedures Nor did Zurich provide
any notice whatsoever that substantially or materially complied with the foregoing
requirements Zurich never informed First Rate of the consequences to First Rate
that would necessarily result from Zurich’s reporting to the WCIRB, or how to
avoid the consequences of Zurich’s reporting. Zurich thereby breached the terms of
its policy, the law, and its own procedures

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 36 of 77 Page |D #:334

45. Zurich knew, as everyone in the insurance industry knows, that
reporting an uncooperative “U” code to the WCIRB would dramatically increase
First Rate’s premium. Ignoring the 2014 policy, California regulations, and its own
internal procedures, Zurich set up a system designed to place its own interests in
audit quotas far above that of its insureds There is no legal reason why the audit
could not have been performed in August, or in September, October, or November.
Zurich’s acted with complete disregard for First Rate or its interests or the
consequences on First Rate’s continued survival when its workers’ compensation
premium dramatically increased as a result of Zurich’s acts

46. First Rate is informed and believes, and based upon such information
and belief alleges, that, as a result of Zurich reporting First Rate’s payroll to the
WCIRB using Estimated Audit Code “U,” First Rate’s ex-mod increased from at or
about 1.9, to at or about 3.3.

47. As a result of the increase in First Rate’s ex-mod, the April 2016
renewal quote from First Rate’s then current workers’ compensation insurance
carrier was higher than it otherwise would have been.

48. In light of the amount of the April 2016 renewal quote that First Rate
received from its then current workers’ compensation carrier, it was more cost
effective for First Rate to contract with SouthEast Personnel Leasing, Inc.
(“SouthEast”), a professional employer organization, to outsource its workers’
compensation insurance coverage So, instead of renewing with its then current
workers’ compensation carrier, First Rate contracted with SouthEast, thereby
outsourcing its workers’ compensation insurance coverage

49. First Rate is informed and believes, and based upon such information
and belief alleges, that, had it been able to renew with its then current workers’
compensation carrier at a premium that was based on First Rate’s true ex-mod,
rather than at a premium that was based on its ex-mod as artificially inflated due to
Zurich use of Estimated Audit Code “U,” then the cost, to First Rate, of obtaining

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 37 of 77 Page |D #:335

workers’ compensation insurance coverage would have been over $1 million less
than it cost to obtain workers’ compensation insurance through SouthEast.

50. First Rate is informed and believes, and based upon such information
and belief alleges, that SouthEast became aware of the increase in First Rate’s ex-
mod from at or about 1.9, to at or about 3.3, and that, because SouthEast had
become aware of that increase in First Rate’s ex-mod, SouthEast required First Rate
to pay an additional amount for workers’ compensation insurance coverage, which
amount First Rate had no reasonable alternative but to pay. Payment of this further
amount to SouthEast increased the cost, to First Rate, for workers’ compensation
insurance coverage, by $330,000, or thereabouts.

51. At the time First Rate purchased the Policies, Zurich had reason to
know that, if First Rate’s ex-mod Was artificially inflated, due to Zurich’s
inappropriate use of Estimated Audit Code “U,” then: (a) certain existing customers
of First Rate who would otherwise have continued to contract with First Rate would
not do so, because of First Rate’s ex-mod; (b) certain prospective customers of First
Rate who would otherwise have contracted with First Rate would not do so, because
of First Rate’s ex-mod; and (c) First Rate would not be able to effectively compete
for certain customers because of the artificially increased cost, to First Rate, of
securing workers’ compensation insurance

52. When Zurich breached the Policies, by reporting First Rate’s payroll to
the WCIRB using the Estimated Audit Code “U,” thereby artificially increasing
First Rate’s ex-mod, that proximately caused injury to First Rate, in that: (a) the
cost, to First Rate, of obtaining workers’ compensation insurance coverage was
increased by in excess of $1.3 million; and (b) First Rate lost profits that it would
otherwise have received, thereby damaging First Rate in an amount that will be

proven at trial.

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 38 of 77 Page |D #:336

FIRST CAUSE OF ACTION
(For Breach of Contract, Against All Counter-Defendants)

53. First Rate incorporates by reference each and every allegation
contained in paragraphs l through 52, above, as though iiilly set forth herein

54. First Rate entered into an agreement with Zurich NA and Zurich to
purchase workers’ compensation insurance policies and entered into the Policies
with Zurich.

55. The Counter-Defendants breached the Policies by failing to properly
apply the filed rating plans and schedule modification as alleged herein

56. Zurich breached the 2014 policy by refusing to complete the payroll
audit, failing to make a good faith effort to complete the payroll audit, falsely
reporting First Rate to the WCIRB as uncooperative, failing to notify and warn First
Rate concerning the payroll audit and reports to the WCIRB as required by
regulation, the 2014 policy, and Zurich’s own procedures

57. First Rate has performed all terms of the Policies except for which any
of whose performance has been excused by Zurich’s conduct.

58. As a proximate result of Counter-Defendants’ breaches of the Policies,
First Rate has suffered losses in an amount to be proven at trial.

59. At all times herein mentioned, Counter-Defendants, and each of them,
were the agents, servants, and employees of each of the other Counter-Defendants
herein, and were acting within the course and scope of said agency and employment
with the permission and consent of the other Counter-Defendants and each of them.
Counter-Defendants are thus vicariously liable for the acts of each of the other

Counter-Defendants.

SECOND CAUSE OF ACTION
(For Intentional Interference With Economic Relationship, Against All
Counter-Defendants)

60. First Rate incorporates by reference each and every allegation
contained in paragraphs l through 59, above, as though fully set forth herein
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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 39 of 77 Page |D #:337

6l. The Zurich Counter-Defendants knew that First Rate, like all California
employers, was required to carry workers’ compensation insurance for its
employees

62. The Zurich Counter-Defendants knew that First Rate’s then current
workers’ compensation insurance carrier would become aware of the increase in
First Rate’s ex-mod, and the Zurich Counter-Defendants also knew that, because of
the increase in First Rate’s ex-mod, the 2016 renewal quote from First Rate’s then
current workers’ compensation insurance carrier would be significantly higher than
it otherwise would have been

63. When the Zurich Counter-Defendants reported First Rate’s payroll to
the WCIRB using Estimated Audit Code “U,” one of the reasons Zurich did so was
to trigger a punitive increase in First Rate’s ex-mod, thereby making it prohibitively
expensive for First Rate to renew its workers’ compensation insurance with its then
current workers’ compensation insurance carrier.

64. Prior to issuing a renewal quote to First Rate in or about April 2016,
First Rate’s then current workers’ compensation insurance carrier became aware of
the increase in First Rate’s ex-mod. As a result of the increase in First Rate’s ex-
mod, the April 2016 renewal quote from First Rate’s then current workers’
compensation insurance carrier was higher than it otherwise would have been

65. In light of the amount of the April 2016 renewal quote that First Rate
received from its then current workers’ compensation carrier, it was more cost
effective for First Rate to contract with SouthEast, a professional employer
organization to outsource its workers’ compensation insurance coverage So,
instead of renewing with its then current workers’ compensation carrier, First Rate
contracted with SouthEast, thereby outsourcing its workers’ compensation insurance
coverage

66. Had First Rate been able to renew with its then current workers’
compensation carrier at a premium that was based on First Rate’s true ex-mod,

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 40 of 77 Page |D #:338

rather than at a premium that was based on its ex-mod as artificially inflated due to
the Zurich Counter-Defendants’ use of Estimated Audit Code “U,” then the cost, to
First Rate, of obtaining workers’ compensation insurance coverage would have been
over $1 million less than it cost to obtain workers’ compensation insurance through
SouthEast,

67. After joining SouthEast, it became aware of the increase in First Rate’s
ex-mod from at or about 1.9, to at or about 3.3. Thus, SouthEast required First Rate
to pay an additional amount for workers’ compensation insurance coverage, which
amount First Rate had no reasonable alternative but to pay. Payment of this further
amount to SouthEast increased the cost to First Rate for workers’ compensation
insurance coverage, by 8330,000, or thereabouts.

68. As a direct and proximate result of the Zurich Counter-Defendants’ acts
First Rate’s profit margin was completely wiped out for many of its customers
First Rate had to let go of customers who were too costly under the higher workers’
compensation costs First Rate had to increase its fees to almost all of its clients,
and lost clients in the process First Rate also lost out on new assignments from
existing customers who employed other staffing companies to meet their growing
needs in 2016 and 2017. First Rate has suffered losses in an amount to be proven at
trial.

69. The aforementioned conduct of Zurich and Zurich NA was willful,
oppressive, fraudulent, and malicious First Rate is, therefore, entitled to exemplary
and punitive damages

70. At all times herein mentioned, the Zurich Counter-Defendants, and
each of them, were the agents, servants, and employees of each of the other Zurich
Counter-Defendants herein, and were acting within the course and scope of said
agency and employment with the permission and consent of the other Zurich
Counter-Defendants and each of them. Zurich Counter-Defendants are thus
vicariously liable for the acts of each of the other Zurich Counter-Defendants

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 41 of 77 Page |D #:339

71. First Rate further alleges that the Zurich Counter-Defendants at all
times acted through their officers, directors, employees, and agents, and that they
had advance knowledge of the damage being caused to First Rate and that they
approved, ordered, instructed, supervised and controlled the conduct of their
officers, directors, employees, and agents such as to constitute a ratification of the
conduct of said officers, directors, employees, and agents Accordingly, pursuant to
the doctrine of respondeat superior, Counter-Defendants are liable for punitive

damages as prayed for herein

THIRD CAUSE OF ACTION
(Tortious Breach of the Implied Covenant of Good Faith and Fair Dealing,
Against All Counter-Defendants)

72. First Rate incorporates by reference each and every allegation
contained in paragraphs 1 through 71, above, as though fully set forth herein

73. The covenant of good faith and fair dealing is implied by law in every
contract to protect each party’s right to receive the benefits of the contract, As a
result of engaging in the conduct set forth in this counter-claim, Counter-Defendants
denied First Rate the benefits of the Policies and thus, breached the implied
covenant of good faith and fair dealing by failing to properly apply the rating plans
and schedule modification as alleged herein; by refusing to complete the payroll
audit, failing to make a good faith effort to complete the payroll audit, falsely
reporting First Rate to the WCIRB as uncooperative, failing to notify and warn First
Rate concerning the payroll audit and reports to the WCIRB as required by
regulation the 2014 policy, and Zurich’s own procedures

74. Each of Counter-Defendants’ alleged acts caused First Rate damages
by increasing First Rate’ Ex-Mod’s and workers’ compensation insurance premiums
to amounts higher than they should be but for Counter-Defendants’ acts, for which
the Counter-Defendants are jointly and severally liable

75. First Rate’ damages also include all attorneys’, experts’ and

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 42 of 77 Page |D #:340

consultants’ fees, expenses and costs incurred by First Rate to pursue and obtain the
benefits under the Policies pursuant to the doctrine set forth in Brandt v. Superior
Court (1995) 37 Cal.3d 813.

76. The aforementioned conduct of Counter-Defendants’ was willful,
oppressive, fraudulent, and malicious First Rate is, therefore, entitled to exemplary
and punitive damages

77. At all times herein mentioned, Counter-Defendants, and each of them,
were the agents, servants, and employees of each of the other Counter-Defendants
herein, and were acting within the course and scope of said agency and employment
with the permission and consent of the other Counter-Defendants and each of them.
Counter-Defendants are thus vicariously liable for the acts of each of the other
Counter-Defendants.

78. First Rate further alleges that Counter-Defendants at all times acted
through their officers, directors, employees, and agents, and that they had advance
knowledge of the damage being caused to First Rate and that they approved,
ordered, instructed, supervised and controlled the conduct of their officers, directors,
employees, and agents such as to constitute a ratification of the conduct of said
officers, directors, employees, and agents Accordingly, pursuant to the doctrine of
respondeat superior, Counter-Defendants are liable for punitive damages as prayed

for herein

FOURTH CAUSE OF ACTION
(Negligence, Against All Counter-Defendants)

79. First Rate incorporates by reference each and every allegation
contained in paragraphs l through 78, above, as though fully set forth herein

80. The Counter-Defendants and each of them owed First Rate a duty to
properly administer the workers’ compensation insurance that First Rate was
purchased from Counter-Defendants. That includes the Counter-Defendants’ duty
to follow State insurance laws and regulations, including Zurich and Zurich NA’s

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17-cV-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 43 of 77 Page |D #:341

rate filings and schedule modifications

81. As a result of engaging in the conduct set forth in this counter-claim,
Counter-Defendants breached their duties to First Rate for which they are jointly
and severally liable

82. As a direct and proximate result of the Counter-Defendants acts First
Rate suffered injury and was damaged as alleged herein

83. The aforementioned conduct of Counter-Defendants’ was willful,
oppressive, fraudulent, and malicious First Rate is, therefore, entitled to exemplary
and punitive damages

84. At all times herein mentioned, Counter-Defendants, and each of them,
were the agents, servants, and employees of each of the other Counter-Defendants
herein, and were acting within the course and scope of said agency and employment
with the permission and consent of the other Counter-Defendants and each of them.
Counter-Defendants are thus vicariously liable for the acts of each of the other
Counter-Defendants.

85. First Rate further alleges that Counter-Defendants at all times acted
through their officers, directors, employees, and agents, and that they had advance
knowledge of the damage being caused to First Rate and that they approved,
ordered, instructed, supervised and controlled the conduct of their officers, directors,
employees, and agents such as to constitute a ratification of the conduct of said
officers, directors, employees, and agents Accordingly, pursuant to the doctrine of
respondeat superior, Counter-Defendants are liable for punitive damages as prayed

for herein
FIFTH CAUSE OF ACTION

(Unfair Business Practices in Violation of Business & Professions Code
Sections 17200, Et Seq. Against All Counter-Defendants)
86. First Rate incorporates by reference each and every allegation

contained in paragraphs l through 85, above, as though hilly set forth herein

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87. Counter-Defendants’ conduct described herein, include its unlawful
and discriminatory policies waged against First Rate to extract a higher premium in
violation of Zurich’s rate filings, constitute unfair and unlawful business practices as
defined by California Business and Professions Code section 17200, et seq.

88. As a direct and proximate result of Counter-Defendants’ unfair and
unlawful practices, as alleged herein above, First Rate has been damages in an
amount to be proven at trial.

89. Pursuant to California Business and Professions Code section 17203, et
seq., First Rate seeks an injunction requiring Counter-Defendants to follow Zurich’s
rate filings when assigning insureds to one of Zurich NA’s four carriers and when
making a Schedule Rating determination First Rate also seeks restitution of the
money that was diverted from First Rate under California Business and Professions
Code section 17202, et seq. First Rate further seeks any and all further relief

available under California Business and Professions Code section 17200, et seq.

WHEREFORE, FIRST RATE PRAYS FOR JUDGMENT, AS FOLLOWS:
ON THE FIRST CAUSE OF ACTION
l. For general and special damages in a sum to be proven at trial with pre-
judgment and post-judgment interest thereon at the maximum rate permitted by law;
ON THE SECOND CAUSE OF ACTION
l. F or general and special damages in a sum to be proven at trial with pre-
judgment and post-judgment interest thereon at the maximum rate permitted by law;
2. For punitive and exemplary damages in an amount appropriate to
punish or set an example of Counter-Defendants;
ON THE THIRD CAUSE OF ACTION
1. For general and special damages in a sum to be proven at trial with pre-
judgment and post-judgment interest thereon at the maximum rate permitted by law;

2. For recovery of all attorneys’, experts’ and consultants’ fees, costs and

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expenses incurred to pursue and obtain the benefits of the WC Policies pursuant to
the doctrine set forth in Brandt v. Superior Court (1995) 37 Cal.3d 813;
ON THE FOURTH CAUSE OF ACTION

l. For general and special damages in a sum to be proven at trial with pre-
judgment and post-judgment interest thereon at the maximum rate permitted by law;

2. For punitive and exemplary damages in an amount appropriate to
punish or set an example of Counter-Defendants;

ON THE FIFTH CAUSE OF ACTION

l. For a preliminary and permanent order enjoining Counter-Defendants’
conduct;

2. For restitution and disgorgement of unjust enrichment, plus interest;

3. F or recovery of all attorneys’ fees pursuant to California Code of Civil

Procedure section 1021 .5.
ON ALL CAUSES OF ACTION
l. For all costs incurred by First Rate to date and to be incurred by First
Rate hereafter in connection with this action; and

2. For such other and further relief as the court deems just and proper.

Dated: April 6, 2018 ROXBOROUGH, POMERANCE, NYE &
ADREANI, LLP

By: /S/Jose h C G"onola
Nicholas 15._110x501'ough
David R. Gmsburg
lose l1 C. Gjonola

A_ttomeys or Defendant and Counterclaimant
Fn'st Rate Staffing Corporanon

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Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 46 of 77 Page |D #:344
1 Demand for Jury
2 Defendant First Rate Staffing Corporation demands trial by jury for all triable
3 issues in this action
4
5 Dated: April 6, 2018 ROXBOROUGH, POMERANCE, NYE &
6 ADREANI, LLP
7 By: /s/ Jose€ h C GE'GHOZQ
8 153313 1351 Ginsi§r§r°ugh
9 Attomi-:;}/Sse oli' ([:)‘e?e`-ir(iiflilzi)rif1 and Counterclaimant
10 First Rate Staffing Corporation
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Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 47 of 77 Page |D #:345

EXHIBIT 2

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 48 of 77 Page |D #:346

Joseph C. Gjono|a

From: Lincoln Horton <lhorton@hortonvillagelaw.com>
Sent: Tuesday, April 03, 2018 5:49 P|\/|

To: Joseph C. Gjonola; drg@rpnalaw.com

Subject: Re: Zurich v. First Rate Staffing

Attachments: imageOOl.gif

Joe,

Zurich is not agreeable to stipulate to allow leave for filing an amended counterclaim
Zurich is opposed to the filing of an amended counterclaim at this late juncture
Regards,

Lincoln

Lincoln Horton, Esq.

HORTON V|LLAGE LAW GROUP, APC
16236 San Dieguito Drive, Suite 5-24
P.O. Box 9181

Rancho Santa Fe, CA 92067

Tel. 858.832.8685
lhorton@hortonvil|age|aw.com
www.hortonvi||agelaw.com

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electronic transmission in error, please notify us by email or call us at 858.832.8685, and immediately delete or destroy all
copies of this electronic transmission.

From: "loseph C. Gjonola" <jcg@rpna|aw.com>

Date: Tuesday, April 3, 2018 at 12:07 PlV|

To: Lincoln Horton <|h0rton@hortorwi|lagelaw.con‘l>, "drg@rpnalaw.com" <drg@r'pna|aw.com>
Subject: RE: Zurich v. First Rate Staffing

Linco|n,

Attached is a stipulation re First Rate’s second amended counterclaim Tomorrow | am going to file a motion to
continue the trial. | would like to include this stipulation to file the second amended counterclaim, and avoid having to
also file a motion for leave to amend the counter-claim | believe First Rate has solid grounds for an amendment based
on the newly discovered facts and parties as alleged therein l would very much appreciate your agreement in this
regard Because l will be filing this stipulation, ljust need your approval to put your electronic signature on the
document.

Please let me know asap so that l can prepare tomorrow's pleadings accordingly

Thanl< you,

loe

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 49 of 77 Page lD #:347

Joseph C. Gjonola, Esq. | Partner
5820 Canoga Avenue | Suite 250 | Woodland Hi|ls, CA

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From: Joseph C. Gjono|a [maMQ;®rpna|aw.com]
Sent: Monday, April 02, 2018 3:39 PM

To: 'Lincoln Horton'; ’drg@rpna|aw_.gg_n_'i_'

Subject: RE: Zurich v. First Rate Staffing

Lincoln,

l hope you had a nice holiday weekend | am following up on my email of last Friday, beiow. | can send over a formal
stipulation for your signature tomorrow.

Thanl< you,

loe

Joseph C. Gjonola, Esq. | Partner
5820 Canoga Avenue | Suite 250 | Woodland Hil|s, CA

91367
ROXBOROUGH tel (818) 992-9999 | fax (818) 992-9991
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eve a Anmz,\rei jcg@rpnalaw.com

 

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From: Joseph C. Gjono|a [mailto:jcg@;gng_l_a_wm.g_og]_]
Sent: Friday, March 30, 2018 5:33 PM

To: 'Lincoln Horton'; 'drg@rpnalavv.com'

Subject: RE: Zurich v. First Rate Staffing

Lincoln,

Attached is First Rate’s Proposed Second Amended Counter-Claim. lt includes the additional claims that previously
discussed, and addition of World Wide. We have also added an additional Zurich party, but that may be more of a
change in form than substance You will have to tell me. Please let us know at your earliest convenience whether you
will stipulate to the amendment We intend to seek a trial continuance by way of motion next week. The amended
counter claim would necessitate a continuance and if Zurich decides not to stipulate to the amendment, we would
request leave to amend along with our motion for a continuance

Happy faster and Passover,

loe

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 50 of 77 Page lD #:348

Joseph C. Gjonola, Esq. | Partner

5820 Canoga Avenue | Suite 250 | Woodland Hi||s, CA
91367

tel (818) 992-9999 | fax (818) 992-~9991
jcg@rpnalawcom

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From: Lincoln Horton lmailto:lhorton@hortonvillaqelaw.coml
Sent: Saturday, March 24, 2018 9:40 PM

To: Joseph C. Gjonola; drg@rp_nalavv.com
Subject: Zurich v. First Rate Staffing

loe and David,

Please find the attached discovery and notices of deposition
Regards,

Lincoln

Lincoln Horton, Esq.

HORTON V|LLAGE LAW GROUP, APC
16236 San Dieguito Drive, Suite 5-24
P.O. BOX 9181

Rancho Santa Fe, CA 92067

Tel. 858.832.8685
lhoi'ton@hortonvillage|avv.com

w\_rvvv.hortonvl|iagelaw.conl

 

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Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 51 of 77 Page lD #:349

EXHIBIT 3

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 52 of 77 Page lD #:350

Joseph C. Gjono|a

From: Lincoln Horton <lhorton@hortonvillagelaw.com>

Sent: Tuesday, April 03, 2018 5:45 PM

To: Joseph C. Gjonola; drg@rpnalaw.com

Subject: Re: Notice of Ex Parte l\/lotion For Leave To Amend, and l\/|otion To Continue The Trial
Attachments: imageOOl.gif

Joe,

Yes. We are opposing the ex parte application
Regards,
Lincoln

Lincoln Horton, Esq.

HORTON V|LLAGE LAW GROUP, APC
16236 San Dieguito Drive, Suite 5-24
P.O. Box 9181

Rancho Santa Fe, CA 92067

Tel. 858.832.8685
lhorton@hortonvil|age|aw.com
www.hortonvi||age|aw.com

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disclosure, copying, distribution or use of the contents ofthis electronic transmission is prohibited if you have received this
electronic transmission in error, please notify us by email or call us at 858.832.8685, and immediately delete or destroy all
copies of this electronic transmission

From: "loseph C. Gjonola" <`c r nalavv.ct:-m>

Date: Tuesday, April 3, 2018 at 4:50 Pl\/l

To: Lincoln Horton <lhorton@hortonvi|lagelaw.com>, "drg@rpnalaw.com" <drg@rpnalavv.com>
Subject: RE: Notice of Ex Parte l\/lotion For Leave To Amend, and l\/lotion To Continue The Trial

Lincoln

| was reminded to include the following notice: lf Zurich chooses to oppose the ex parte motion, you will have 48 hours
from the date of delivery of the moving papers to file and serve Zurich’s opposition papers

Thank you,

loe

Joseph C. Gjonola, Esq. | Partner
5820 Canoga Avenue | Suite 250 | Woodland Hills, CA

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R,’~"_X 8 '»-"119*»'}~‘ 11 tel (818) 992-9999 | fax (818) 992-9991
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Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 53 of 77 Page lD #:351

From: Joseph C. Gjono|a [mailto:jcg@rpnalaw.com]
Sent: Tuesday, April 03, 2018 4:41 PM

To: 'Lincoln Horton'; 'drg@rpna|aw.com'

Subject: Notice of Ex Parte Motion For Leave To Amend, and Motion To Continue The Trial

lincoln

'l`his email is your notice ofl"`irst Rate Statiing`s tl*`RS’s) intention to move ex parte on Wednesday` April 4.
2018 for leave to amend its answer and counterclz'iim. ’l`lns will be coupled with a l\/lotion 'l`o Continue 'l`he
Final Pretrial Conference And Trial. An ex parte application is necessary due to the short tinief`rame until the
Expert Report deadline oi`April 16. 2018 and because l"RS discovered facts parties and counterclaims that il
was unaware of until the discovery that it diligently conducted over the past 30 days

Please acknowledge your acceptance ol`this notice and inform me whether you intend to oppose the motion so
that we may inform the Court as required With an ex parte motion, lt` you do not intend to oppose then please
inform me whether you wi§i stipulate to thc continuance and to the Second Amended Answer and Counterclaim
that l sent you on March 30. 2018,

With kind regards

loe

Joseph C. Gjonola, Esq. | Partner
5820 Canoga Avenue l Suite 250 | Woodland Hills, CA

91367
ROXB¢ROUPH tel (818) 992-9999 | tax (818l 992-9991
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From: Joseph C. Gjono|a [mai|to:jcg§a}r|:_)nalaw.com]
Sent: Tuesday, April 03, 2018 12:07 PM

To: 'Lincoln Horton'; 'drg@rpnalaw.corn'
Subject: RE: Zurich v. First Rate Staffing

l_incoln,

Attached is a stipulation re First Rate’s second amended counterclaim Tomorrow | am going to file a motion to
continue the trial. |Would like to include this stipulation to file the second amended counterclaim, and avoid having to
also file a motion for leave to amend the counter-claim | believe First Rate has solid grounds for an amendment based
on the newly discovered facts and parties as alleged therein | would very much appreciate your agreement in this
regard Because l will be filing this stipufation, |just need your approval to put your electronic signature on the
document

Please let me know asap so that l can prepare tomorrow’s pleadings accordingly

Thank you,

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 54 of 77 Page lD #:352

loe

Joseph C. Gjonola, Esq. | Partner
5820 Canoga Avenue | Suite 250 | Woodland Hil|s, CA

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From: Joseph C. Gjonola [mai|to:jcg@rpnalaw.com]
Sent: Monday, April 02, 2018 3:39 PM

To: 'Lincoln Horton'; ‘drg@rpnalaw.com'
Subject: RE: Zurich v. First Rate Staffing

Lincoln

l hope you had a nice holiday weekend lam following up on my email of last Friday, below. t can send over a formal
stipulation for your signature tomorrow.

Thanl< you,

loe

Joseph C. Gjonola, Esq. | Partner
5820 Canoga Avenue | Suite 250 | Woodland Hills, CA

- 91367

ROXBOROUGH tel (818) 992-9999 | fa)< (818) 992-9991
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From: Joseph C. Gjonola [mailto:lc_:g@_rgnalaw.com]
Sent: Friday, March 30, 2018 5:33 PM

To: 'Lincoln Horton'; lgl_c[gl[c&rpnaiavii.cern'

Subject: RE: Zurich v. First Rate Staffing

Lincoln

Attached is First Rate’s Proposed Second Amended Counter-Clalm. lt includes the additional claims that previously
discussed and addition of Wor|d Wide. We have also added an additional Zurich party, but that may be more of a
change in form than substance You will have to tell me Please let us know at your earliest convenience whether you
will stipulate to the amendment We intend to seek a trial continuance by way of motion next week. The amended
counter claim would necessitate a continuance and iqurich decides not to stipulate to the amendment, we would
request leave to amend along with our motion for a continuance

Happy Easter and Passover,

loe

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 55 of 77 Page lD #:353

Joseph C. Gjonola, Esq. l Partner
5820 Canoga Avenue | Suite 250 | Woodland Hil|s, CA

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From: Lincoln Horton linailto:lhorton@hortonvlllaqelaw.coml
Sent: Saturday, March 24, 2018 9:40 PM

To: Joseph C. Gjonola; drg@rpnalaw.com
Subject: Zurich v. First Rate Staffing

 

Joe and David,

Please find the attached discovery and notices of deposition
Regards,

Lincoln

Lincoln Horton, Esq.

HORTON V|LLAGE LAW GROUP, APC
16236 San Dieguito Drive, Suite 5-24
P.O. BOX 9181

Rancho Santa Fe, CA 92067

Tel. 858.832.8685
lhorton@hortonvil|agelaw.com

vy_ww.hortonvi||agelaw.com

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Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 56 of 77 Page lD #:354

EXHIBIT 4

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 57 of 77 Page lD #:355
Case 2:17~cv-04864-CAS-KS Document 26 Filed 10/30/17 Page 1 of 1 Page lD #:158

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No. CVl7-4864-CAS(KSX) Date October 30, 2017
'|`itle Zurich American Insurance Company of IIlinois v. First Rate .Smj_"fi‘ng Corporation, et
al.

 

 

Present: The Honorable CHR[STINA A. SNYDER, U.S. DISTRICT JUDGE

 

 

Connie Lee Lisa Gonzalez N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Lincoln Horton David Carman
Proceedings: SCHEDULING CONFERENCE

Hearing held and counsel are present. The Court confers with counsel and
schedules the following dates:

Request for leave to file amended pleadings or to add parties: February 16, 201 8;
Settlement Completion Cutoff: April 16, 2018;

Factual Discovery Cut-off: April 30, 2018;

Last Day to File Motions: May 4, 2018;

Exchange of Expert Reports Cut-off: February l(), 20`18;

Exchange of Rebuttal Reports Cut-off: l\/larch 2 2018;

Expert Discovery Cut-off: April 30, 20 l 8 ;

Status Conference re: Settlement (11:00 A.M.): April 30, 20_18;

Pretrial Conference/Hearing on Motions in Limine (11:00 A.M.): .luly 2, 2018; and
JuryTrial (9:30 A.M.): August ’7, 2018 .

 

Motions in limine shall be noticed for the same date and time of the Pretrial
Conference, and filed 28 days prior thereto. Motions in limine/oppositions shall not
exceed five (5) pages in length and no replies will be accepted

The Court orders the parties to go before the assigned Magistrate Judge for
settlement purposes Counsel shall contact Judge Stevenson’s Courtroom Deputy Clerk
regarding availability, forthwith.

00 : ll

 

initials of Preparer CL

 

cc: ADR

 

CV-90 (06/04) ClVll, MINUTES - GENERAL Page l of l

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 58 of 77 Page lD #:356

EXHIBIT 5

Case 2:17-

CaS€ 2

:v-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 59 of 77 Page lD #:357

17-cv-04864-CAS-KS Document 30 Filed 01/26/18 Page 1 of 2 Page lD #:173

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - WEST DIVISION

ZURICH AMERICAN INSURANCE Case No. 2:17-cv-4864-CAS(KSX)
COMPANY OF ILLINOIS,
ORDER ON STIPULATION TO
Plaintiff, CONTINUE CERTAIN SCHEDULING
ORDER DATES

v.

FIRST RATE STAFFING CORPORATION
and DOES l to 100, inclusive .ludge: Christina A. Snyder
C`trm: 8D

Defendants

Complaint Filed: July 1, 2017

AND RELATED COUNTERCLAIM. .
Trlal: August 7, 2018

 

 

The Court having considered the Joint Stipulation of Plaintiff and Counter-
Defendant ZURICH AMERICAN INSURANCE COMPANY OF ILLINOIS ("Zurich")
and Defendant and Counterclaimant FIRST RATE STAFFING CORPORATION (“First
Rate”) for continuance of certain Scheduling Order dates, and good cause appearing
therefore, the Court hereby orders the following:

l. The Initial Expert Designation and Exchange of Expert Reports is continued
from February 16, 2018 to April 16, 2018. Concurrent with providing the lnitial Expert
Designation and Report, the parties will provide available deposition dates for their
respective experts

2. The Rebuttal Expert Designation and Rebuttal Report is continued from March
2, 2018 to April 30, 2018. Concurrent with providing the Rebuttal Expert Designation

 

 

 

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 60 of 77 Page lD #:358
Case 2_ 17-cv-04864-CAS-KS Document 30 Filed 01/26/18 Page 2 of 2 Page lD #:174

l and/or Report the parties shall provide available deposition dates for any rebuttal experts
2 3. The Expert Discovery Cut-off is continued from April 30, 2018 to May 30,

3 2018.

4 4. The Last Day to File Motions is continued from May 4, 2018 to June 1, 2018.
5 5. All other dates set forth in the Court’s Scheduling Order, including the August
7, 2018 trial date, remain the same

IT IS SO ORDERED.

 

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DATED: January 26, 2018 UNITED sTATEs DISTRICT COURT

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v HON. CHRISTINA A SNYDER
DISTRICT COURT JUDGE

 

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Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 61 of 77 Page lD #:359

EXHIBIT 6

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 62 of 77 Page lD #:360

Joseph C. Gjonola

From: Lincoln Horton <|horton@hortonvillagelaw.com>

Sent: Wednesday, December 27, 2017 2:39 Pl\/|

To: Joseph Gjonola; David A. Carman

Cc: drg@rpnalaw.com

Subject: Re: Zurich American Insurance Company of Illinois v. First Rate Staffing Corporation et

al., Case No. 2:17-cv-4864-CAS-KS pending in the United States District Court for the
Central District of California -- West Division

Joe,

|\/ly client has been out of the office for the holidays, sol have not had the opportunity to speak with her, yet. l will let you
know.

Per our call last week, l want to take the depositions of each of your clients who you expect to testify at trial about any aspect
of this case. l know you met with your clients last week. Were you able to identify who at First Rate has knowledge about the
issues alleged in the complaint and counterclaim? lf so, please let me know who has pertinent knowledge what their general
areas of knowledge are, and when they are available for deposition in lanuary.

Thanks,

Lincoln

Lincoln Horton, Esq.

HORTON V|LLAGE LAW GROUP, APC
16236 San Dieguito Drive, Suite 5-24
P.O. Box 9181

Rancho Santa Fe, CA 92067

Tel. 858.832.8685
lhorton@hortonvillagelaw.com
www.hortonvillagelaw.com

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electronic transmission in error, please notify us by email or call us at 858.832.8685, and immediately delete or destroy all
copies of this electronic transmission

From: Joseph Gjonola <'[cg@rpnalavv.corn>
Date: Wednesday, December 27, 2017 at 11:21 AM

To: Lincoln Horton <lhorton@hortonviliagelavv.corn>, "David A. Carman" <dac air nalavv.com>

Cc: "clrg@rpna|aw.com" <drg@rpnalavv.corn>

Subject: Re: Zurich American insurance Company of illinois v. First Rate Staffing Corporation et al., Case No. 2217-cv-
4864-CAS-KS pending in the United States District Court for the Central District of California -- West Division

Lincoln
l hope you had a nice Christmas weekend l am following up in my email below.
1

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 63 of 77 Page lD #:361

Thank you,
loe

On Dec 21, 2017, at 4:50 Pi\/l, Joseph C. Gjonola <ii:g@rpnalaw.com> wrote:

Lincoln

i\iice to meet you yesterday by telephone To follow up, have you had a chance to discuss with your client the idea of
scheduling a settlement conference with the Magistrate in February, and continuing the expert report date by 60
days? As we discussed that would allow us all to focus our resources on reaching a settlement rather than preparing
experts for trial. | retrieved the Magistrate's availability for February, and the only dates that are also available for us
are February 22 and 28. Please see if either of those work for Zurich. if not We can probably find a date in early i\/iarch,
though it will start to work against our goal because we can delay the expert reports just so long without moving the
trial date,

Finally, i would like to find some dates in the last week oflanuary to depose Joseph Pereira and l\/ls. Totsky, assuming
that she is the one Who communicated with the WC|RB. if it was Caro| i\/icArd|e then | Would need to depose her as
we|i. l don’t anticipate those going very long.

Thank you,

loe

Joseph C. Gjonola, Esq. | Partner

5820 Canoga Avenue | Suite 250 | Woodland |-lills, CA
91367

tel (818) 992-9999 l fax (818) 992-9991
jcg@rpnalaw.com

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From: Lincoln Horton imaiito:lhorton@hortonvi|iacie|aw.coml

Sent: Tuesday, December 19, 2017 9:44 AM

To: David A. Carman

Cc: 'Joseph C. Gjonola'

Subject: Re: Zurich American Insurance Company of I||inois v. First Rate Staffing Corporation et al., Case No. 2:17-cv-
4864-CAS-KS pending in the United States District Court for the Central District of California -- West Division
Importance: High

David,

3 pm tomorrow works for me for a call.
Thanks,

Lincoln

Lincoln Horton, Esq.

HORTON V|LLAGE LAW GROUP, APC

16236 San Dieguito Drive, Suite 5-24
P.O. Box 9181

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 64 of 77 Page lD #:362

Rancho Santa Fe, CA 92067
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www.hortonvil|agelaw.com

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copies of this electronic transmission

From: "David A. Carman" <dac@rpnalaw.com>

Date: i\/londay, December 18, 2017 at 11:00 Ai\/l

To: Lincoln Horton <|horton@hortonvi|lggelaw.com>

Cc: "'loseph C. Gjonola"' <`c r na|aw,com>

Subject: Zurich American insurance Company of illinois v. First Rate Staffing Corporation et al., Case No. 2:17-cv-4864-
CAS-KS pending in the United States District Court for the Central District of California -- West Division

Lincoln:

| just realized that | have a conflict with the 10:00 a.m. and the 10:30 a.m. times that l just suggested in my
earlier e-mai|, so please let me know whether 11:45 a.m. or 3200 p.m. will work for you.

Thanks.
Sincerely,
David A. Carman

David A. Carman Esq. | Senior Attorney
5820 Canoga Avenue | Suite 250 | Woodland
Hil|s, CA 91367

tel (818) 992-9999 l fax (818) 992-9991
dac@rpnalaw.corn

<imageOOl.gif>

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 65 of 77 Page lD #:363

EXHIBIT 7

Case 2:17-cv-04864-CAS-KS Document 32-3 Fiied 04/06/18 Page 66 of 77 Page lD #:364

Joseph C. Gjonola

From: Roxanne_Horan-Walker@cacduscourts.gov

Sent: Monday, December 18, 2017 1:11 Pi\/l

To: Joseph C. Gjonola

Cc: roxanne_horan-walker@cacd.uscourts.gov; dac@rpnalaw.com

Subject: Re: CV17-4864-CAS(KSX) i\/iandatory Settlement Conference in Zurich v. First Rate
Staffing

Good afternoon

The earliest dates the court is available in February are: February 13th @ ‘l:00 pm, February 14th @ 11:00 a.m.l or
February 15th @ 1:00 p.m.

Thank you

   

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312 North Spr,zng Szreet. Bw§e G-S
Lcs Angeles. California 900§2
O€€iee; {213§894.89'78 Fax {2'§3‘; 894 0249
§mai|: swanne_hcran-Wa|l\`er@caoduse,eurtsrgov

R.t".‘\`.*\.N|‘~'[ 110[¢,.»\!~| \NAL KL'R

From: "Joseph C. Gjonola" <' nalaw.corn>
To: <_qu:;aiine horagjy§jkei'@cacd.useouris.qov>

Cc: <dac@. rgna|aw.<:om>
Date: 12/18/2017 12:22 Pl\/i
Subiect: CV17-4864-CAS(KSx) |\/landatory Settlement Conference in Zurich v. First Rate Staffing

l\/is. Horan-Walker,

| will be heading up the above referenced case for my firm, representing defendant and counter claimant, First Rate

Staffing. Attached are the minutes of the scheduling conference before District Judge Christina A. Snyder, directing the parties to
contact you regarding a mandatory settlement conference The settlement completion cut off is April 16, 2018. First Rate would
like to know if Magistrate Stevenson is available February 8, 9, or 12 for the mandatory settlement conference

if not please advise regarding availability closest to the first two weeks of February. i will be discussing dates and other litigation
matters with Zurich’s counsel later this Week and Would like to have this information so that we can have a productive meeting.
Thank you,

loe Gjonola

Joseph C. Gjonola, Esq. l Partner
5820 Canoga Avenue | Suite 250 | Woodland Hi|ls, CA 91367
tel (818) 992-9999 | fax (818) 992-9991

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Case 2:17-cv-04864-CAS-KS Document 32-3 Fiied 04/06/18 Page 67 of 77 Page lD #:365

[attachment "171031.minutes of scheduling conference (00149750xE15DC).PDF" deleted by Roxanne Horan-
Waiker/CACD/O9/USCOURTS]

Case 2:17-cv-04864-CAS-KS Document 32-3 Fiied 04/06/18 Page 68 of 77 Page lD #:366

EXHIBIT 8

Case 2:17-cv-04864-CAS-KS Document 32-3 Fiied 04/06/18 Page 69 of 77 Page lD #:367

Joseph C. Gjonola

From: Roxanne_Horan-Walker@cacd.uscourts.gov

Sent: Wednesday, January 10, 2018 3:26 Pl\/l

To: Joseph C. Gjonola

Cc: drg@rpnalaw.com; Lincoln Horton; Roxanne_Horan-Walker@cacd.uscourts.gov

Subject: RE: CV17-4864-CAS(KSX) i\/|andatory Settlement Conference in Zurich v. First Rate
Staffing

Good afternoon
Judge Stevenson is available on the following dates in i\/|arch'.

March 20th @1:30 p.m
i\/iarch 2tst@10:00 a.m.
March 22nd @1:30 p.m.

Thank you

   

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M.Allit$'i RATE llll'.\\GF. KARIN L.$TE‘vl-?NSON
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Zmai|: roxanne_hnra;n-wa|h;er@eaed esceurts gov

RO.\LM-| NL` HORAN WALKIR

i-`~`rom: "Joseph C. Gjonola" <j_tgg@[p__r_i_a_|_ay_v_.g.;g_l_g>

lo <Rnxanne Horan~Wa|ker' cacd.uscou s ov>

Cc: <dr r nalaw.com>, "Lincoin Horton"<ihorion hoitonvi|ia eiaw_eom>
Date: 01/10/2018 02:20 PM

Subieci. RE: CV17-4864~CAS(KSX) Mandatory Settlement Conference in Zurich v. First Rate Staffing

 

i\/is. Horan-Wa|ker,

You are probably tired of us continually returning to you for available i\/lSC dates, but | must one more time. Can | ask that you
respond with the |\/|agistrate’s current availability between February 14 and l\/iarch 22, 2018,

Thank you very much,

loe Gjonola (counse| for First Rate Staffing)

Opposing counsel is cc'ed above

Joseph C. Gjonola, Esq. | Partner
5820 Canoga Avenue | Suite 250 | Woodland Hiils, CA 91367
tel (818) 992-9999 | fax (818) 992-9991

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Case 2:17-cv-04864-CAS-KS Document 32-3 Fiied 04/06/18 Page 70 of 77 Page lD #:368

From: Roxanne Horan~Waiker@cacd.uscourts.qov lmailto:Roxanne l-loran-Walker@cacd.uscourts.qovl
Sent: Wednesday, December 20, 2017 3:01 PM

To: Joseph C. Gjonola

Cc: dac@rpnaiavv.com; 'Lucy Rodriguez'; Roxanne Horan-Walker@cacd.uscourts.oov

Subject: RE: CV17-4864-CAS(KSX) Mandatory Settlement Conference in Zurich v. First Rate Staffing

Good afternoon

Here are additional dates: February 20th @ 1100 pm, February 2ist @ 10:00 am, February 22nd @ 1:00 p.m, February
28th @10:00 a.m.

Thank you

.. . . . COURTP.\_`\L!M UEP'UTY CI.ERK TU
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312 North Sprmg Sér'eet, Suite G-S
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Email: foxsnne_horaz'l-wailie.r-'_i_t,'cacd.uscourtsigov

  

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 71 of 77 Page |D #:369

EXHIBIT 9

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 72 of 77 Page lD #:370

Joseph C. Gjonola

From: Joseph C. Gjonola <jcg@rpna|avv.com>

Sent: Thursday, March 01, 2018 10:45 Al\/|

To: 'Lincoln Horton'

Cc: 'David Ginsburg'

Subject: RE: Zurich v. First Rate Staffing Corporation - Pre-l\/|andatory Settlement Conference

Demand - Confidentia| Settlement Communication

Linco|n,

Thank you for sending us your client's offer. We Will provide you With our ciient’s response in due course. ln the
meantime, | am very concerned With the fact that We still do not have your c|ient's documentsl As you told me on the
telephone last Week, you Would have already produced the documents to us 4 days ago if We had kept Joseph Pereira's
deposition on l\/|onday February 26, 2018, We moved it specifically to put some review time between receiving the
documents and taking the deposition Then We moved it again When the documents did not arrive on l\/Ionday or
Tuesday, Zurich still did not produce them on Wednesday February 28, 2018, displaying an intent to deny us the
opportunity for a meaningful revieW. This is not acceptable or conducive to the purpose of expediting these depositions
and going to an early mediation. Our client quite Wi||ing and Without fuse provided its documents and four Witnesses at
Zurich’s convenience We appreciate all that you have done to facilitate the depositions on both sides, but your client is
preventing meaningful deposition from taking place, and injuring the chance at resolving this case Without a trial and
heavy Court involvement

With kind regards,

Joe

Joseph C. Gjonola, Esq. | Partner
5820 Canoga Avenue | Suite 250 | Woodland Hiils, CA

91367
RQ_WOHNH-=H tel (818) 992-9999 | fa)< (818) 992.-9991
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twa a nancmii jcg@rpna|aw.com

 

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From: Lincoln Horton [mai|to:thorton@hortonvi|iacie|aw.com]

Sent: Wednesday, February 28, 2018 9:57 PM

To: Joseph C. Gjonola

Cc: David Ginsburg

Subject: Zurich v. First Rate Staffing Corporation - Pre-Mandatory Settlement Conference Demand - Confidential
Settlement Communication

Counse|,
Please see the attached correspondence of today's date.
Regards,

Lincoln Horton

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 73 of 77 Page lD #:371

Lincoln Horton, Esq.

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Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 74 of 77 Page lD #:372

EXHIBIT 10

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 75 of 77 Page lD #:373

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17-cv-04864-CAS-KS Document 29 Filed 01/25/18 Page 1 of 3 Page lD #:166

LINCOLN V. HORTON (SBN 165238)
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P.O. Box 918 l

Rancho Santa Fe, CA 92067

Telephone: 858.832.8685

Attorneys for Plaintiff and Counter»Dct_`cndant Zurich
American Insurance Company nt` lllinols

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - WEST DIVISION

ZURICH AMERICAN lNSURANCE Case NO. 2:17-cv-4864-CAS(KSX)
COMPANY OF lLLlNOlS,
JOINT STIPULATION FOR
Plaintiff, CONTINUANCE OF CERTAIN
SCHEDULING ORDER DATES

V.

FIRST RATE STAFFING CORPOKATION
and DOES 1 to 100, inclusive, .ludge: Christina A. Snyder
Ctrin: 8D

Defendants
Complaint Filed: July 1, 2017
AND RELATED COUNTERCLAIM.

 

Trial: August 7, 2018

 

Plaintiff and Counter-Defendant ZURICH AMERICAN INSURANCE
COMPANY OF ILLlNOIS ("Zurich") and Defendant and Counterclaimant FIRST RATE
STAFFING CORPORATION (“First Rate”) hereby submit this joint stipulation for the
continuance of certain Scheduling Order dates, and accompanying proposed order.

WHEREAS, a Scheduling Order Was entered by the Court for this matter on
October 30, 2017 (Dckt. No. 26).

WHEREAS, pursuant to the Scheduling Order the parties have set a Mandatory
Settlement Conference (“MSC”) for March 20, 2018 With Magistrate Judge Stevenson.

WHEREAS, counsel have meet and conferred in anticipation of the pending MSC,

and Wish to create an environment conducive to reaching a settlement

JOINT STIPULATION FOR CONTINUANCE OF SCI'{EDULING ORDER DATES, CASE NO. 2117-cv-4864

 

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 76 of 77 Page lD #:374

Case 2

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17-CV-O4864-CAS-KS Document 29 Filed 01/25/18 Page 2 Of 3 Page lD #1167

WHEREAS, all counsel agree that a trial Will likely entail substantial expert
testimony, and that settlement Will be much more likely before the parties incurring large
expenses to retain experts, produce reports, and take depositions

WHEREAS, the parties are also cooperating to obtain focused non-expert
discovery to assist in the settlement process at the MSC.

THEREFORE, IT IS HEREBY STIPULATED, by and between all parties
pursuant to Local Rule 7-1, as follows:

1. The Initial Expert Designation and Exchange of Expert Reports should be
continued from February 16, 2018 to April 16, 2018. Concurrent With
providing the lnitial Expert Designation and Report, the parties Will provide
available deposition dates for their respective experts.

2. The Rebuttal Expert Designation and Rebuttal Report should be continued
from March 2, 2018 to April 30, 2018. Concurrent With providing the
Rebuttal Expert Designation and/or Report the parties shall provide
available deposition dates for any rebuttal experts.

3. The Expert Discovery Cut-off should be continued from April 30, 2018 to
May 30, 2018.

4. The Last Day to File Motions should be continued from May 4, 2018 to
June 1 , 20 1 8.

5. All other dates set forth in the Court’s Scheduling Order, including the
August 7, 2018 trial date, shall remain the same.

IT IS SO STIPULATED.

DATEDI January 24, 2018 HORTON VILLAGE LAW GROUP, APC

By: /s/ Lincoln V. Horton

LINCOLN V. HORTON
Attorneys for Plaintiff and Counter-
Defendant Zurich American Insurance
Company of Illinois

2
JOINT STIPUA"I:I(_)N FOR CONTINUNANCE OF SCHEDULING ORDER DATES, CASE NO. 2:17-cv-4864

 

 

Case 2:17-cv-04864-CAS-KS Document 32-3 Filed 04/06/18 Page 77 of 77 Page lD #:375

Case 2.

 

 

17-cv-04864-CAS-KS Document 29 Filed 01/25/18 Page 3 of 3 Page lD #:168

DATED: January 24, 2018 ROXBOROUGH, POMERANCE,
NYE & ANDEANI, LLP

By: Ls/Hjoseph Gjonola
JOSEPH GJONOLA
Attomeys for Defendant and
Counterclaimant FIRST RATE
STAFFING CORPORATION

3
JOINT STIPUATION FOR CONTINUNANCE OF SCHEDULII\EORDER DATES, CASE NO. 2:17-cv-4864_

 

 

 

